      Case 3:23-cv-01742-RFL Document 37 Filed 09/20/23 Page 1 of 84




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                             NORTHERN DISTRICT OF CALIFORNIA
 9

10
       RON BERGMAN, Individually and on behalf      Case No. 23-cv-01742
11     of all others similarly situated,
                                                    CLASS ACTION
                     Plaintiff,
12
                     v.                             EXHIBIT A TO AMENDED CLASS
13                                                  ACTION COMPLAINT FOR
       CARIBOU BIOSCIENCES, INC., RACHEL
       E. HAURWITZ, JASON V. O’BYRNE,               VIOLATIONS OF THE FEDERAL
14
       RYAN FISCHESSER, SCOTT                       SECURITIES LAWS
15     BRAUNSTEIN, ANDREW GUGGENHIME,
       JEFFREY LONG-MCGIE, NATALIE R.
16     SACKS, BOFA SECURITIES INC.,
17     CITIGROUP GLOBAL MARKETS, INC.,
       and SVB SECURITIES LLC,
18                   Defendants.
19

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      EXHIBIT A TO AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS OFTHE
                          FEDERAL SECURITIES LAWS
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  EXHIBIT A
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[Additional Counsel on Signature Page]
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                      NORTHERN DISTRICT OF CALIFORNIA
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  all others similarly situated,
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                 Plaintiff,
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  ANDREW GUGGENHIME, JEFFREY LONG-                                                   Formatted                                     ... [21]
  MCGIE, NATALIE R. SACKS, BOFA
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  MARKETS, INC., and SVB SECURITIES                                                  Formatted                                     ... [23]
  LLC,                                                                               Formatted                                     ... [24]
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                 Defendants.
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                                                                                                                    Deleted: (“Plaintiff’),
         Court-appointed Lead Plaintiff Ron Bergman and named plaintiff Carl D. Cooper (“Plaintiffs”),
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individually and on behalf of all others similarly situated, by Plaintiffs’ undersigned attorneys, allege in this   Deleted: other persons
                                                                                                                    Deleted: Plaintiff’s
amended complaint the following upon knowledge with respect to their own acts, and upon facts obtained
                                                                                                                    Deleted: for Plaintiff’s
through an investigation conducted by their counsel, which included inter alia, review and analysis of: (i)         Deleted: against Defendants (defined below), alleges
                                                                                                                    Deleted: based
Defendant Caribou Biosciences, Inc.’s (“Caribou,” or the “Company”) filings with the Securities and
                                                                                                                    Deleted: personal
Exchange Commission (“SEC”); (ii) information concerning Caribou from the U.S. Food and Drug                        Deleted: as
                                                                                                                    Deleted: Plaintiff and Plaintiff’s
Administration (“FDA”); (iii) in-depth research reports by securities and financial analysts concerning
                                                                                                                    Deleted: information and belief as to all other matters,
                                                                                                                    based
Caribou; (iv) transcripts of Caribou’s conference calls with analysts and investors; (v) presentations, press
                                                                                                                    Deleted: , inter alia, the
releases, and media reports regarding Caribou; (vi) data concerning Caribou’s stock price; and (vii) other          Deleted: and through Plaintiff’s attorneys
                                                                                                                    Deleted: , among other things, a review of the Defendants’
information readily obtainable on the Internet. Plaintiffs believe that substantial additional evidentiary          public documents, announcements, public filings, wire and
                                                                                                                    Deleted: published by
support will exist for the allegations set forth herein after a reasonable opportunity for discovery Most of
                                                                                                                    Deleted: Biosciences, Inc. (“Caribou,” or the “Company”),
the facts supporting these allegations are known only by Defendants (defined below),or are exclusively              and
                                                                                                                    Deleted: Plaintiff believes
within their or control.1 I. INTRODUCTION                                                                           Deleted: .

         1. This is a federal securities class action on behalf of all persons and entities who purchased           Deleted: NATURE OF THE ACTION¶
                                                                                                                    Deleted: a class consisting of
Caribou common stock from between July 23, 2021 and July 13, 2023, both dates inclusive (“Class,” and

the period from July 23, 2021 through July 13, 2023 is the “Class Period”).2 Plaintiffs bring the following

claims on behalf of the Class: (1) claims pursuant to §§ 11 and 15 of the Securities Act of 1933 (“Securities
                                                                                                                    Deleted: other than Defendants that
Act”) for all persons and entities who purchased Caribou common stock pursuant or traceable to the
                                                                                                                    Deleted: or otherwise acquired: (a)
Company’s registration statement and prospectus (collectively, the “Offering Documents”) issued in                  Deleted: and/
                                                                                                                    Deleted: (defined below)
connection with the Company’s initial public offering (the “IPO” or “Offering”) conducted on or about July
                                                                                                                    Deleted: (the “IPO” or “Offering”); and/or
23, 2021; and (2) claims pursuant to §§ 10(b) and 20(a) of the Securities Exchange Act of 1934, 15 U.S.C.
                                                                                                                    Deleted: Caribou securities between July 23, 2021 and
                                                                                                                    December 9, 2022, both dates inclusive (the “Class Period”).
§§78j(b) and 78t(a) (the “Exchange Act”), for all persons or entities who purchased Caribou common stock            Plaintiff pursues claims against the Defendants under the
                                                                                                                    Securities Act of 1933 (the “Securities Act”) and

1                                                                                                                   Deleted: (the “Exchange Act”).
  Pursuant to the Court’s Standing Order for Civil Cases, Section VII, A., attached hereto as Exhibit A is a
red-line document showing the changes made to the previously filed complaint (Dkt. No. 1).
2
  Excluded from the Class are: (a) persons who suffered no compensable losses; and (b) Defendants
(defined infra); the present and former officers and directors of the Company at all relevant times; members
of their immediate families and their legal representatives, heirs, successors, or assigns, and any entity in
which any of the Defendants, or any person excluded under this subsection (b), has or had a majority
ownership interest at any time.
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during the Class Period at artificially inflated prices and were damaged when the artificial inflation

dissipated upon a series of corrective disclosures.3

        2.      Founded in 2011, Caribou is a clinical-stage biopharmaceutical company that engages in
                                                                                                                 Deleted: the development of genome
developing gene-edited cell therapies to treat solid tumors and hematologic malignancies. Caribou applies
                                                                                                                 Deleted: allogeneic
its CRISPR (Clustered Regularly Interspaced Short Palindromic Repeats; pronounced “crisper”) platform            Deleted: for the treatment of
                                                                                                                 Deleted: and solid tumors in the U.S. and internationally.
called, CRISPR hybrid RNA-DNA, or chRDNA, (pronounced “chardonnay”) to develop these genome                      The Company is developing,¶
                                                                                                                 1¶
edited cell therapies. Caribou’s chRDNA technology uses an RNA-DNA hybrid to “edit” cells. In simple             among other product candidates, CB-010, an allogeneic

terms, gene editing works by changing a DNA sequence. In CRISPR genome editing, a CRISPR molecule

finds a precise location in the target DNA, a CRISPR enzyme cuts the DNA at that point, and then, an “edit”

is made where a new custom sequence is added when the DNA is repaired.4 The Company’s most advanced

product candidate is CB-010, an allogeneic, or “off-the-shelf’, anti-CD19 chimeric antigen receptor
                                                                                                                 Deleted: -
(“CAR”)-T cell therapy that is in a Phase 1 clinical trial (“ANTLER” or “ANTLER Trial”) to treat relapsed
                                                                                                                 Deleted: therapy1
or refractory B cell non-Hodgkin lymphoma (“r/r B-NHL”).5                                                        Deleted: , referred to as “
                                                                                                                 Deleted: ”,
        3.      Historically, CAR-T cell therapies have been “autologous”, meaning that cancer-
                                                                                                                 Deleted:
destroying T cells are taken from a patient’s own blood, changed in the lab by adding a CAR to help the T        Deleted: According to Defendants, CB-010 is the first
                                                                                                                 clinical-stage
cells attach to a specific cancer cell antigen, and then injected back into the patient. While autologous cell

therapies have demonstrated durability because they are derived from a patient’s own cells (and thus are not

as likely to be rejected by the patient’s immune system), they are expensive and time-intensive because they

are customized for each patient.

        4.       By contrast, allogeneic or “off-the-shelf” cell therapies are derived from donor cells.

Allogeneic cell therapies hold the promise of lower cost and quicker turnaround time. However, allogeneic

cell therapies have not demonstrated significant and reproducible efficacy in solid tumors. Specifically,


3
  Unless otherwise noted, internal citations are omitted and emphasis is added throughout.
4
  Innovative Genomics Institute, What is CRISPR? (2023)
https://innovativegenomics.org/education/digital-resources/what-is-crispr/.
5
  CAR-T cell therapy is a way to get immune cells called T cells (a type of white blood cell) to fight
cancer by changing them in the lab so they can find and destroy cancer cells. CAR-T cell therapy is also
sometimes talked about as a type of cell-based gene therapy because it involves altering the genes inside
T cells to help them attack the cancer.
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allogeneic CAR-T projects have struggled to yield lasting complete responses or “CRs”. In cancer treatment,

CR refers to the absence of all detectable cancer post treatment, whereas durability or durable response

refers to the amount of time a patient remains in remission and does not relapse. In the area of gene-edited

cell therapies used to treat cancer, six-month durability has emerged as the minimum for patient remission

to be considered “real.” Defendants, as experts in the industry, were aware of this six-month minimum

durability threshold at all relevant times.
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         5.      In order to improve durability, Caribou purportedly designed CB-10 using three CRISPR           numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                                                                                                                 Start at: 2 + Alignment: Left + Aligned at: 0" + Indent
edits: “1) we knock out the TRAC gene to remove the T cell receptor, 2) we site- specifically insert an anti-    at: 0", Tab stops: 1", Left + Not at 1"

CD19 CAR into the trac gene, and 3) we knock out PD-1.” According to Caribou, the last of these three            Deleted: -T cell therapy with

                                                                                                                 Deleted: removed
steps, removing or “knocking out” the programmed cell death protein 1 (“PD-1”) from the CAR-T cell
                                                                                                                 Deleted: which purportedly sets CB-010 apart from other
surface by a genome-edited knockout of the PDCD1 gene, purportedly “boosted” antitumor activity.                 allogeneic CAR-T cells by, inter alia, improving the
                                                                                                                 “persistence” of…
         6.      To help fund its operations, Caribou raised nearly $300 million in an initial public offering   Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
                                                                                                                 OLE_NUMBER
(“IPO”) of its shares. On July 1, 2021, the Company filed a registration statement on Form S-1 with the          MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
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SEC, in connection with its IPO, which, after several amendments, was declared effective by the SEC on           12,MSG_EN_FONT_STYLE_MODIFER_ITALIC

July 22, 2021 (the “Registration Statement”). The Registration Statement represented that Caribou was            Deleted: Caribou
                                                                                                                 Deleted: the
using its “chRDNA technology to enhance, or armor, 6




                                                      6                                                          Deleted: <object><object>

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our cell therapies” - including CB-010 which targeted CD19.7 Caribou touted CB-010 as the “first             Deleted: On July 23, 2021, pursuant to
clinical-stage allogeneic anti-CD19 CAR-T cell therapy.”
                                                                                                             Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
         7.     The Registration Statement further represented, that “[w]e have demonstrated in              OLE_NUMBER
                                                                                                             MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3 +
preclinical models that the PD-1 knockout improves the persistence of antitumor activity.” Specifically,     MSG_EN_FONT_STYLE_MODIFER_SIZE 11,MSG_EN_FON
                                                                                                             T_STYLE_MODIFER_NOT_ITALIC
the Company’s “'preclinical in vivo data from experiments conducted in mouse xenograft models ...

demonstrate that knocking out PD-1 leads to a significant increase in the durability of antitumor
activity.”
         8.     As support for what Caribou had “demonstrated,” the Registration Statement provided the

graphic below showing the tumor activity in mice up to day 108 of the study and survival data for the mice

up to day 160 or 5.3 months of the study:

                                                                                      D108

                  PBS
     (negative control)
      conventional alio
         CD19 CAR-T
        (PD-1 positive)

         CB-010 (PD-1     •sj‘r
             negative)

                                        Overall Survival Analysis
                                             DaU to 16# <*ay*




                                                                CAR-T



         9.     In addition, the Registration Statement represented that the Company’s in vitro




7
  Because different cancers have differing antigens, each CAR is made for a specific cancer’s antigen. In
certain kinds of leukemia or lymphoma, the cancer cells have an antigen called CD19. The CAR-T cell
therapies that treat cancers with the CD 19 antigen are made to attach to the CD 19 antigen and will not
work for a cancer that does not have the CD19 antigen.
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studies showed that “CB-010 cells demonstrate dose-dependent and robust cytotoxic8 activity at a range

of effector-to-target ratios compared to negative control cells.” In other words, when CB- 010 was

administered at higher doses, its ability to fight cancer cells purportedly increased.
                                                                                                                      Formatted: Indent: First line: 0.54", Line spacing:
           10.     On July 23, 2021, Caribou’s common stock began publicly trading under the ticker symbol            Exactly 23.75 pt, Outline numbered + Level: 1 +
                                                                                                                      Numbering Style: 1, 2, 3, … + Start at: 10 + Alignment:
“CRBU” on the Nasdaq Global Select Market (“NASDAQ”). That same day, Caribou filed a prospectus on                    Left + Aligned at: 0" + Indent at: 0", Tab stops: 1",
                                                                                                                      Left + Not at 1"
Form 424B4 with the SEC in connection with the IPO, which incorporated and formed part of the
                                                                                                                      Deleted: ”) under the ticker symbol “CRBU”.
Registration Statement (the “Prospectus”).                                                                            Deleted: ” and, collectively with the Registration
                                                                                                                      Statement, the “Offering Documents
           11.      Pursuant to the Offering Documents, Caribou issued 19 million shares of common stock
                                                                                                                      Deleted: to the public
at the Offering price of $16.00 per share raising proceeds of $282.72 million for the Company, before
                                                                                                                      Deleted: for
expenses, and after applicable underwriting discounts.                                                                Deleted: to

           12.     Defendants BofA Securities Inc. (“BofA”), Citigroup Global Markets, Inc. (“Citigroup”),

and SVB Securities LLC (formerly known as SVB Leerink LLC) (“SVB”) served as underwriters, selling

6,935,000, 6,365,000 and 5,700,000 shares, respectively, in the IPO and received a total of $24,472,000 in            Deleted: were negligently prepared and, as a result,
                                                                                                                      Formatted: Indent: First line: 0.54", Line spacing:
underwriting commissions.
                                                                                                                      Exactly 23.75 pt, Outline numbered + Level: 1 +
                                                                                                                      Numbering Style: 1, 2, 3, … + Start at: 10 + Alignment:
           13.     The Offering Documents contained untrue statements of material fact and/or omitted to
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state other facts necessary to make the statements made therein not misleading. Specifically, in the Offering         Deleted: ¶
                                                                                                                      1
                                                                                                                        Anti-CD19 CAR-T cells are administered as a type of
Documents, Defendants (defined infra) made false or misleading statements and omitted that: (i) CB-010’s              therapy for relapsed/refractory aggressive B-call
                                                                                                                      lymphomas (i.ecancers that start in the lymph system).¶
                                                                                                                      2¶
design was not an improvement on competitors’ designs because knocking out the PD-1 protein would not
                                                                                                                      Deleted: and were not prepared in accordance with the
                                                                                                                      rules and regulations governing their preparation.
significantly increase the durability of antitumor activity in humans; (ii) as a result, escalated dosing of CB-      Additionally, throughout the Class Period, Defendants made
                                                                                                                      materially false and misleading statements regarding the
010 would not improve its durability in a clinical trial; and (iii) Caribou was not the first to conduct a clinical   Company’s business, operations, and prospects.
                                                                                                                      Deleted: and
trial of an allogeneic CAR-T cell therapy knocking out the PD-1 protein; in fact, results from a Phase I study
                                                                                                                      Deleted: and/
had come out two months prior to Caribou’s IPO which undermined its proposition that knocking out PD-                 Deleted: /or failed to disclose
                                                                                                                      Deleted: treatment effect
1 was linked to enhanced clinical performance. Accordingly, in the Offering Documents, Defendants
                                                                                                                      Deleted: as durable as Defendants had led investors to
overstated CB-010’s clinical and commercial prospects and omitted the trends then facing Caribou’s                    believe; (ii) accordingly,
                                                                                                                      Deleted: were overstated; and (iii) as a result, the Offering
business, in contravention of the specific disclosure requirements of the federal securities laws.                    Documents and Defendants’ public statements throughout
                                                                                                                      the Class Period were materially false and/or misleading and
           14.     Additionally, throughout the Class Period, and following Caribou’s IPO, Defendants                 failed to state information required to be stated therein
                                                                                                                      Deleted: On June 10, 2022, Caribou issued a press release
8                                                                                                                     reporting “[p]ositive” data from the ANTLER Phase 1
    Cytotoxic refers to a treatment’s ability to kill cancer cells.                                                   clinical trial. Among other results, Caribou reported
                                                          5                                                           Deleted: <object><object>

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Caribou, its Chief Executive Officer (“CEO”) Rachel Haurwitz, and its Chief Financial Officer (“CFO”)

Jason O’Byrne (collectively, the “Exchange Act Defendants”) continued to misrepresent its preclinical and

clinical studies and CB-010’s commercial prospects.

         15.    Following the IPO, Caribou’s competitors - whose clinical trials were ahead of CB-010 -

began posting their clinical trial results. On December 13, 2021, Allogene Therapeutics, Inc. (“Allogene”)

published updated data from its two Phase 1 clinical trials of its lead anti-CD19 AlloCART T therapy

programs which were “‘on par’ with autologous CAR T therapy”. Allogene reported no relapses in large B

cell lymphoma (“LBCL”) CAR-T naive patients across trials who had achieved a CR at six months and a

44% CR rate with ongoing CRs at nine months. On June 6, 2022, Adicet Bio, Inc. (“Adicet”) announced

updated data from the Phase 1 study of its a CAR T cell therapy for r/r B-NHL showing 75% CR across all

dose levels and 50% of evaluable patients with at least six months follow-up remaining cancer-free,

indicating “durable anti-tumor responses with potential for dose related increase in durability.” And on June

8, 2022, Precision Biosciences, Inc. (“Precision”) announced new clinical data for its CD19 CAR T therapy

showing a 73% CR rate among evaluable relapsed patients and a 50% durable response rate greater than

six months.
         16.    During the Class Period, Caribou represented that CB-010 was at least on par with its

autologous predecessors. For example, on May 12, 2022, the Company released initial results from its Phase

1 trial showing an 80% CR rate as of the February 23, 2022 data cutoff date. And that patients with a CR at

28 days had maintained it at three months. Even though the cutoff date for six-month data would be available

the very next day, and interim data was already available, Caribou chose to release this 28-day data. Caribou

CEO Haurwitz then put the data in perspective with respect to FDA-approved autologous therapies, stating

“that the approved CAR-Ts that



                                                      6
focus on CD19-positive disease have achieved overall response rates of about 50% to 70% and overall

response rates of 30% to 50%. These include Gilead’s Yescarta, Bristol Myers Squibb’s Breyanzi and

Novartis’ Kymriah” In response to these and other Company statements that day, the Company’s stock

surged 27%.
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         17.     But before markets opened on June 10, 2022, Caribou reported updated results from its              Exactly 23.75 pt, Outline numbered + Level: 1 +
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Phase 1 trial revealing that “[a]t 6 months following the single dose of CB-010, [only] 40% of patients             Left + Aligned at: 0" + Indent at: 0", Tab stops: 1",
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remained in CR (2 of 5 patients) as of the May 13, 2022 data cutoff date[,]” prompting investor concern
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over the Company’s ability to demonstrate CB-10’s durability.                                                       Deleted: ”,
                                                                                                                    Deleted: of the CB-010 treatment
         18.     On this news, Caribou’s stock price fell 41.5%, on heavy trading volume to close at $5.10
                                                                                                                    Deleted: $1.78 per share, or 20.
per share on June 13, 2022.                                                                                         Deleted: %,
                                                                                                                    Deleted: 6.94 per share on June
         19.     Despite this, Caribou continued to assure investors that CB-010’s unique mechanism of
                                                                                                                    Deleted: <#>Then, on December 12, 2022, Caribou issued
action boosted anti-tumor activity and would yield durable responses, encouraging investors to wait for             a press release “reporting] new 12- month clinical data from
                                                                                                                    cohort 1 in the ongoing ANTLER Phase 1 trial, which
                                                                                                                    [purportedly] show[ed] longterm durability following a
more data, especially considering that Caribou would soon start the dose escalation portion of the ANTLER           single infusion of CB-010 at the initial dose level 1 (40x106
                                                                                                                    CAR-T cells).” Among other results, Caribou reported that
Trial, where patients continuing in the trial would be administered higher doses of CB-010. Haurwitz, in            “3 of 6 patients maintained a durable CR at 6 months” and
                                                                                                                    “2 of 6 patients maintain a long-term CR at the 12 month
particular, continued to assure investors that CB-010’s “long-term durability at dose level 1 is comparable         scan and remain on the trial”, thereby confirming investor
                                                                                                                    fears that the CB-010 treatment lacked significant durability.¶
                                                                                                                    3¶
to autologous cell therapies.”

         20.     Then, on July 13, 2023, Caribou reported “long-term follow-up data from the dose

escalation portion of the ongoing ANTLER Phase 1 trial,” including that in three subjects given 120 million

cells, there was one non responder and only two remissions, which lasted less than three months. Patients

thus continued relapsing, despite receiving higher doses, indicating that CB-10 was not in fact dose-

dependent, and was no more effective or durable at even triple the initial dose. In addition, for the first time,

Caribou cautioned against accepting its Class Period statements comparing its results to its competitors’

results at face value because it “has not performed any head-to-head trials comparing any of these other
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CAR-T cell therapies with CB- 010, and Caribou has only reviewed publicly available reports of those trials.
                                                                                                                    Deleted: 8.16
As such, the results of these other clinical trials may not be comparable to clinical results for CB-010.”          Formatted: Indent: First line: 0.53", Line spacing:
                                                                                                                    Exactly 23.75 pt, Outline numbered + Level: 1 +
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         21.     On this news, Caribou’s stock price fell 22.6% on heavy trading to close at $6.30 per share        Deleted: December 12, 2022
                                                                                                                    Deleted: <#>As a result of Defendants’ wrongful acts and
on July 14, 2023.                                                                                                   omissions, and the precipitous decline in the market value of
                                                                                                                    Caribou’s securities, Plaintiff and other Class members have
         22.     As of the time this Amended Complaint was filed, Caribou common stock continues to                 suffered significant losses and damages.¶
                                                                                                                    JURISDICTION AND VENUE¶
trade below the $16.00 per share Offering price, damaging investors.                                                The
                                                                                                                    Deleted: <#>alleged herein arise
         23.     In this Complaint, Plaintiffs assert two distinct sets of claims on behalf of themselves and
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the putative Class, as discussed below.
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          24.    Counts One and Two assert securities fraud-based claims under §§ 10(b) and 20(a) of the

Exchange Act against the Exchange Act Defendants (the “Exchange Act Claims”). Plaintiffs’ Exchange Act

claims arise out of a fraudulent or deliberately reckless course of business conduct whereby, throughout the

Class Period, the Exchange Act Defendants knew or recklessly disregarded that: (i) the statements and

omissions they made, as alleged herein, were materially false and misleading; (ii) their statements would

adversely affect the integrity of the market for Caribou securities; and (iii) their statements would deceive

investors into purchasing shares of Caribou securities at artificially inflated prices, including in the

Company’s $282 million IPO which closed on July 23, 2021.

          25.    Specifically, the Exchange Act Defendants knowingly or recklessly made materially false

and misleading public statements and omitted that: (i) CB-010’s design was not an improvement on

competitors’ designs because knocking out the PD-1 protein would not significantly increase the durability

of antitumor activity in humans; (ii) as a result, CB-010’s treatment effect would not improve with escalated

dosing in humans; (iii) Caribou’s competitors had already achieved results comparable to early autologous

CAR-T trials; (iv) Caribou was not the first trial of an allogeneic CAR-T cell therapy that removed PD-1

from the CAR-T cell surface by a genome-edited knockout of the PDCD1 gene; in fact, results from a prior

trial undermined Caribou’s proposition that knocking out PD-1 improved durability; and (v) as a result, the

Exchange Act Defendants’ positive statements about Caribou’s preclinical and clinical studies and

prospects were materially misleading and lacked a reasonable basis.



                                                     8
          26.    Counts Three and Four assert strict liability, non-fraud claims, under §§ 11 and 15 of the
                                                                                                                Deleted: (15 U.S.C. §§77k, 771(a)(2) and 77o) and
Securities Act against Caribou and the Securities Act Defendants (defined below) (the “Securities Act           Sections…

Claims”). The Securities Act claims arise from the Securities Act Defendants negligently making materially

false and misleading statements and omissions in the Offering Documents issued in connection with the

Company’s IPO. The Securities Act claims are not based on any allegation of deliberate or intentional

misconduct, and Plaintiffs expressly disclaim any reference or reliance upon fraud allegations for such

claims.
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         27.     As set forth herein, each Securities Act Defendant negligently made materially false and

misleading statements and omissions in the IPO Documents that: (i) mischaracterized Caribou’s ability to

demonstrate durability in its Phase 1 trial of CB-010 by touting the durability demonstrated by its preclinical

trial of CB-010 in mice without providing tumor data past 108 days and survival data past 160 days; (ii)

negligently promoted the CB-010 program as having been “demonstrated in preclinical models” to

“improve[] the persistence of antitumor activity” while disregarding mice tumor data past 108 days and

mice survival data past 160 days; (iii) negligently omitted that Caribou’s competitors had already achieved

results comparable to early autologous CAR-T trials; and (iii) failed to adequately warn investors that

certain “Risk Factors” listed in the IPO Documents had already materialized at the time of the IPO. At that

time, the Company’s preclinical data had failed to adequately demonstrate durability and thus, patients

would continue relapsing even when CB-010 was given at higher doses.

II.     JURISDICTION AND VENUE FOR PLAINTIFFS’ EXCHANGE ACT CLAIMS
                                                                                                                  Deleted: (15 U.S.C. §§78j(b) and 78t(a))
         28.     Counts One and Two arise under §§ 10(b) and 20(a) of the Exchange Act and Rule 10b-5
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promulgated thereunder by the SEC, 17 C.F.R. §240.10b-5 (“Rule 10b-5”).                                           Exactly 24 pt, Outline numbered + Level: 1 +
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         29.     This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.         Left + Aligned at: 0" + Indent at: 0", Tab stops: 1",
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§1331 and § 27 of the Exchange Act because this is a civil action arising under U.S. laws.                        Deleted: (
                                                                                                                  Deleted: .
         30.     Venue is proper in this Judicial District pursuant to § 27 of the Exchange Act and 28 U.S.C.
                                                                                                                  Deleted: 22 of the Securities Act and 28 U.S.C. §1331 and
                                                                                                                  §
§ 1391(b)-(d). Specifically, Caribou is headquartered in this Judicial District,
                                                                                                                  Deleted: Section
                                                                                                                  Deleted: (15 U.S.C. § 78aa)

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Defendants conduct business in this Judicial District, and a significant portion of Defendants’ activities took
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place within this Judicial District.                                                                              numbering, Tab stops: Not at 1"

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         31.     In connection with the acts, transactions, and conduct alleged herein, Defendants, directly
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or indirectly, used the means and instrumentalities of interstate commerce, including, but not limited to, the    Exactly 24 pt, Outline numbered + Level: 1 +
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U.S. mail, interstate telephone and other electronic communications, and the facilities of the NASDAQ, a          Left + Aligned at: 0" + Indent at: 0", Tab stops: 1.01",
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national securities exchange.                                                                                     Deleted: mails
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III.    PARTIES
                                                                                                               Deleted: 4¶
        A.       Plaintiffs
                                                                                                               Deleted: the accompanying
        32.      Lead Plaintiff Bergman, as set forth in his PSLRA certification filed with the Court (Dkt.
                                                                                                               Deleted: , acquired
No. 11-3) and incorporated by reference herein, purchased shares of Caribou common stock traceable to          Deleted: pursuant and/or
                                                                                                               Deleted: the Offering Documents issued in connection with
Company’s Registration Statement and was damaged thereby.                                                      the
                                                                                                               Deleted: IPO,
        33.      Named plaintiff Carl D. Cooper, as set forth in his certification filed herewith, purchased
                                                                                                               Deleted: /or purchased or otherwise acquired
Caribou common stock at artificially inflated prices during the Class Period and was damaged upon the          Formatted: Line spacing: Exactly 24 pt, Outline
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revelation of the corrective disclosures alleged herein.                                                       Start at: 10 + Alignment: Left + Aligned at: 0" + Indent
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        B.       Exchange Act Defendants
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                 1. Corporate Defendant Caribou                                                                Deleted: ,
                                                                                                               Deleted: suffered damages as a result of the federal
        34.      Defendant Caribou is a Delaware corporation with principal executive offices located at       securities law violations and false and/or misleading
                                                                                                               statements and/or material omissions
2929 7th Street, Suite 105, Berkeley, California 94710. The Company’s common stock trades under the            Moved (insertion) [3]: Exchange Act Defendants¶

ticker symbol “CRBU” in an efficient market on the NASDAQ.                                                     Formatted: Line spacing: Exactly 24 pt, Outline
                                                                                                               numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                 2. Executive Defendants                                                                       Start at: 10 + Alignment: Left + Aligned at: 0" + Indent
                                                                                                               at: 0", Tab stops: 1.01", Left + Not at 1"
        35.      Defendant Rachel E. Haurwitz (“Haurwitz”) co-founded Caribou and has served as its            Deleted: under the trading symbol “CRBU”.
                                                                                                               Deleted: Caribou’s
President, CEO, and a director since its inception in 2011. Haurwitz signed the Registration Statement filed
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with the SEC as Attorney-in-Fact for Caribou.                                                                  numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
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        36.      Defendant Jason V. O’Byrne (“O’Byrne”) served as Caribou’s CFO throughout the Class           at: 0", Tab stops: 1.01", Left + Not at 1"
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Period and has been responsible for its finance and investor relations functions since 2021. O’Byrne signed    Deleted: Director of the Company at all relevant times.

the Registration Statement filed with the SEC.                                                                 Deleted: or authorized the signing of
                                                                                                               Deleted: served as Caribou’s Chief Financial Officer at all
                                                                                                               relevant times.
                                                                                                               Deleted: or authorized the signing of
                                                     10
                                                                                                               Formatted: Line spacing: Exactly 24 pt, Outline
        37.     Defendants Haurwitz and O’Byrne are sometimes referred to herein collectively as the           numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                                                                                                               Start at: 10 + Alignment: Left + Aligned at: 0" + Indent
“Exchange Act Individual Defendants.”                                                                          at: 0", Tab stops: 1", Left + Not at 1"

        38.     The Exchange Act Individual Defendants possessed the power and authority to control the

contents of Caribou’s SEC filings, press releases, and other market communications. The Exchange Act
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Individual Defendants were provided copies of Caribou’s SEC filings and press releases alleged herein to

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be misleading prior to or shortly after their issuance and had the ability and opportunity to prevent their
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issuance or to cause their correction. Because of their positions with Caribou, and access to material
                                                                                                                 Deleted: their
information available to them but not the public, the Exchange Act Individual Defendants knew or                 Deleted: to
                                                                                                                 Deleted: ¶
recklessly disregarded that the adverse facts specified herein had not been disclosed to and were being          5¶

concealed from the public, and that the positive representations being made were then false and materially
                                                                                                                 Deleted: false and
misleading. The Exchange Act Individual Defendants are liable for the misstatements and omissions
                                                                                                                 Deleted: false statements
pleaded herein.

         39.      Caribou is liable for the wrongful acts alleged herein of the Individual Defendants (defined

infra) and its employees under the doctrine of respondeat superior and common law principles of agency           Formatted: Line spacing: Exactly 24 pt, Outline
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because all such acts were carried out within the scope of their employment.                                     Start at: 10 + Alignment: Left + Aligned at: 0" + Indent
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         40.      Caribou and the Exchange Act Individual Defendants are sometimes referred to herein            Moved down [4]

collectively as the “Exchange Act Defendants.”                                                                   Moved down [5]
                                                                                                                 Moved down [6]
IV.      SUMMARY OF THE EXCHANGE ACT DEFENDANTS’ FRAUD
                                                                                                                 Moved down [7]
         A. Caribou’s Founding and Relevant Background                                                           Moved down [8]

         41.      Caribou is a clinical-stage biopharmaceutical company co-founded in 2011 by Jennifer           Moved down [9]
                                                                                                                 Deleted: Defendant Ryan Fischesser (“Fischesser”) has
Doudna, Ph.D., and Defendant Haurwitz, pioneers in CRISPR genome editing. CRISPR “refers to the way              served as Caribou’s Controller at all relevant times.
                                                                                                                 Deleted: Braunstein signed or authorized the signing of the
bacteria store, in their genomes, snippets of viral DNA, like mug shots. Those markers are used to identify      Registration Statement filed with the¶
                                                                                                                 Deleted: .
invaders that return, much as a human immune system uses telltale elements of a poliovirus remembers
                                                                                                                 Deleted: The Exchange Act Individual Defendants and
from a vaccine.” 9 10 11 12                                                                                      Defendants Fischesser, Braunstein, Guggenhime, Long-
                                                                                                                 McGie, and Sacks are sometimes referred to herein
                                                                                                                 collectively as the “Securities Act Individual Defendants.”¶
         42.      Caribou has been applying its CRISPR platform, chRDNA, toward developing genome-               6¶
                                                                                                                 As directors, executive officers, and/or major shareholders of
edited allogeneic cell therapies for the treatment of hematologic malignancies and solid tumors. Within the      the Company, the Securities Act Individual Defendants
                                                                                                                 participated in the solicitation and sale of Caribou common
immune system, white blood cells like T cells are responsible for defending the body against pathogens and       stock in the IPO for their own benefit and the benefit of
                                                                                                                 Caribou.
abnormal cells, including cancer cells. Autologous CAR-T cell therapies have proven successful in fighting       Deleted: to purchase the shares sold in the IPO.¶
                                                                                                                 The Exchange Act Defendants and the Securities Act
cancer cells, but they involve modifying a patient’s own T cells to express a particular CAR, growing those      Individual Defendants are sometimes collectively, in whole
                                                                                                                 or in part, referred to herein as “Defendants.”¶
                                                                                                                 SUBSTANTIVE ALLEGATIONS¶
                                                                                                                 Background¶
                                                                                                                 Deleted: engages in the development of
9
 Avisol Capital Partners, Caribou Bioscience: Gene Editing Pioneer Files IPO To Raise
                                                                                                                 Deleted: in the U.S.
$100M, SEEKING ALPHA (Jul. 11, 2021 5:16AM ET), https://seekingalpha.com/article/4438629-
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caribou-bioscience-gene-editing-pioneer-files-ipo-to-raise-100m-crbu (“7/11/21 SA Article”).
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cells outside the patient’s body to expand their numbers, and then infusing them back into the patient to

recognize and destroy cancer cells in a targeted manner. This is time consuming (processing of cells and

tissues requires time, and there is a significant lag before the commencement of treatment in some
                                                                                                               Deleted: internationally. The Company is developing,
procedures), expensive, and not feasible for patients whose own stem cells are ineligible for transplant due   among other

to hematological malignancies. Universal allogeneic cell therapies do not require bridging therapy while T

cells are growing and have the potential to provide broader patient access, off-the-shelf availability, more

efficient and cost-effective manufacturing, and more potent and persistent treatment outcomes. The

allogeneic model is also far more financially appealing to biopharmaceutical companies like Caribou

because it does not involve the costly service component of autologous therapies, and offers the potential

to scale production.
                                                                                                               Deleted: candidates,
        43.     Caribou’s lead product candidate is CB-010, an allogeneic anti-CD19 CAR-T cell therapy
                                                                                                               Formatted: Line spacing: Exactly 23.75 pt, Outline
that received investigational new drug (“IND”) clearance from the FDA in September 2020 and is being           numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
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evaluated in the ANTLER Phase 1 clinical trial as a treatment for r/r B-NHL.                                   at: 0", Tab stops: 1.01", Left + Not at 1"

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        44.     PD-1 is a protein on the surface of T and B cells that has a role in regulating the immune

system’s response to the cells of the human body by down-regulating the immune system and promoting

self-tolerance by suppressing T cell inflammatory activity. The molecule, or ligand, that bonds to PD-1 (PD-

L1) is highly expressed in several cancers and essentially prevents the immune system from killing cancer

cells. The PD-1 protein is encoded on the PDCD1 gene.
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        45.     Caribou touted CB-010 as the first allogeneic CAR-T cell therapy that removed 13
                                                                                                               Deleted: clinical-stage
the PD-1 from the CAR-T cell surface by a genome-edited knockout of the PDCD1 gene, which                      Deleted: anti-CD19
                                                                                                               Deleted: with PD-1
purportedly boosts antitumor activity.
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        46.     CB-010’s development and approval was Caribou’s single most important treatment and            OLE_NUMBER
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indisputably its material, core operation that directly drove the Company’s stock price throughout the Class   MSG_EN_FONT_STYLE_MODIFER_SIZE
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Period. As market analysts noted, CB-010 “could possibly change the potential treatment landscape for          Formatted: Line spacing: Exactly 23.75 pt, No bullets
                                                                                                               or numbering, Tab stops: Not at 1"
CAR-T.”14 Accordingly, a “major catalyst” for the Company was “the release of additional results from the
                                                                                                               Deleted: sets CB-010 apart from other allogeneic CART
                                                                                                               cells by, inter alia, improving the “persistence” of
                                                  13                                                           Deleted: On July 1, 2021, Caribou filed the
14
 Chrisomalis, Terry, Caribou Biosciences: Potential to Change CAR-T Landscape, SEEKING
ALPHA (Aug. 1, 2022 2:19PT ET), https://seekingalpha.com/article/4528312-caribou- biosciences-
potential-to-change-car-t-landscape (“8/1/22 SA Article”).                                                     Deleted: <object><object>

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phase 1 ANTLER study by the end of 2022.” Id. Premier healthcare investors like AbbVie Ventures and

The Leukemia & Lymphoma Society Therapy Acceleration Program specifically directed their investments

in the Company toward advancing CB-010.15 If approved, revenue for CB-010 is expected to reach an

annual total of $168 million by 2037 globally based off GlobalData’s Expiry Model.16 17 18 The fact that

Caribou’s future financial prospects were so intimately intertwined with CB-010’s regulatory and

commercial success supports a finding of the Exchange Act Defendants’ scienter.

         47.     One of Caribou’s key competitors is Allogene. Like Caribou, Allogene uses MaxCyte’s

electroporation technology to accomplish multiple genomic edits, but unlike Caribou, Allogene uses a gene

editing tool called TALEN.12 The market appears to recognize the similarity between of Caribou’s and

Allogene’s respective therapies, as reflected in the “sympathetic detonation” of Caribou’s stock price from

a high of $24 a share to a low of $18 a share - a nearly 25% drop - after the FDA placed a clinical hold on

Allogene’s clinical trials on
October 7, 2021. Id. The FDA lifted the hold by January 10, 2022, putting Allogene back in the race with
Caribou to achieve durability in the allogeneic space.13
         48.     To-date however, allogeneic CAR-T cell therapies still have not demonstrated significant

and reproducible efficacy in solid tumors.19 20 Since allogeneic CAR-T projects have struggled to yield

lasting complete responses (“CRs”), six-month durability has emerged as the minimum for patient remission

to be considered real.21



15
   7/11/21 SA Article.
16
   GlobalData, Risk adjusted net present value: What is the current valuation of Caribou
Biosciences ’s CB-010, PREMIUM INSIGHTS (Sept. 11, 2023), https://www.pharmaceutical-
technology.com/data-insights/cb-010-caribou-biosciences-net-present-value/?cf-view.
17
   Avisol Capital Partners, Caribou Biosciences: Another Gene Editor Hurt By the Allogene Hold,
SEEKING ALPHA (OCT. 12, 2021 4:15PM ET), https://seekingalpha.com/article/4459565- caribou-
biosciences-stock-another-gene-editor-hurt-by-allogene-hold (“10/12/21 SA Article”).
                                                   18
19
   Avisol Capital Partners, Allogene: Leading The Allogeneic CAR-T Space, Again, SEEKING ALPHA
(Apr. 1, 2022 5:41PM ET), https://seekingalpha.com/article/4499347-allogene-allo- leading-allogeneic-
car-t-space.
20
   Caribou Biosciences, Inc., Form 10-K for the fiscal year ending December 31, 2021 (Mar. 21, 22),
https://investor.cariboubio.com/node/7271/html (“2021 10-K”) at 8.
21
   Plieth, Jacob, Caribou’s allogeneic Car meets a six-month bar, EVALUATE VANTAGE (Jul. 14, 2023),
https://www.evaluate.com/vantage/articles/news/trial-results/caribous-allogeneic-car-
meets-six-month-bar (“7/14/23 EV Article”).                                                                   Deleted: <object><object>

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        B. Caribou’s Blockbuster IPO
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        49.     In connection with its IPO, Caribou filed a Registration Statement on Form S-1 with the       numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
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SEC on July 1, 2021.22 Caribou subsequently amended the Registration Statement twice and requested that       at: 0", Tab stops: 1", Left + Not at 1"

the SEC declare it effective on an accelerated basis. Following its standard practice, the SEC acceded and    Deleted: in connection with the IPO, which, after several
                                                                                                              amendments, was declared effective by the SEC
on July 22, 2021, the Registration Statement went into effect.
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        50.     As a result, on July 23, 2021, pursuant to the Registration Statement, Caribou’s common
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stock began publicly trading on the NASDAQ. That same day, Caribou filed the Prospectus with the SEC,
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which incorporated and formed part of the Registration Statement.23
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        51.     The Prospectus discouraged investors from doing their own due diligence by instructing        Deleted: in connection with the IPO

them to rely on the information provided or incorporated into that document: “We and the underwriters

have not authorized anyone to provide you with any information or to make any representations other than

those contained in this prospectus or in any free writing




22
   Caribou Biosciences, Inc., Form S-1 Registration Statement (Jul. 1, 2021).
https://investor.cariboubio.com/node/6431/html (“Registration Statement”).
23
   Caribou Biosciences, Inc., Prospectus (Jul. 23, 2021), https://investor.cariboubio.com/sec- filings/sec-
filing/424b4/0001193125-21-223038 (“Prospectus”).
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prospectuses we have prepared. We and the underwriters take no responsibility for, and can provide no

assurance as to the reliability of, any other information that others may give you.” The Prospectus further

told investors to “not consider information contained on our website to be part of this prospectus or in

deciding whether to purchase shares of our common stock.”
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           52.    Pursuant to the Offering Documents, Caribou issued 19 million shares of common stock to     numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
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the public at the Offering price of $16.00 per share for proceeds of $282.72 million to the Company, before   at: 0", Tab stops: 1", Left + Not at 1.01"

expenses, and after applicable underwriting discounts. The IPO thus valued Caribou at a whopping $907.3

million.
                                                                                                                Deleted: Materially False and Misleading Statements
           53.    The Offering Documents touted CB-010 as the “first clinical-stage allogeneic anti-CD19        Issued in the Offering Documents¶
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CAR-T cell therapy,” represented that Caribou “ha[s] demonstrated in preclinical models that the PD-1
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knockout [effect of CB-010] improves the persistence of antitumor activity,” and from those models,           OLE_NUMBER
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provided mice tumor activity up to day 108 and survival data up to day 160 or 5.3 months:                     MSG_EN_FONT_STYLE_MODIFER_SIZE
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                                                                                     D108                       Deleted: by disrupting a pathway that leads to rapid T
                                                                                                                cell exhaustion.”
                 PBS                                                                                            Deleted: <#>Particularly, in describing CB-010’s PD-1
    (negative control)                                                                                          knockout effect and the treatment’s¶
     conventional alio
        CD 19 CAR-T
       (PD-1 positive)
                                                                           IUMMU
           CB-010 (PD-1
               negative)

                                               Overall Survival Analyst*




                                                   PaysPwrCART



           54.    The Offering Documents further represented that “by day 108 following dosing, half the

mice treated with the conventional allogeneic CD19 CAR-T cell therapy had expired
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from their recurrent tumor burden, and the surviving mice in that cohort had metastatic disease. In contrast,

by day 108 following dosing, all of the CB-010-treated mice were alive and roughly half had no detectable

tumor burden ... all of the mice treated with the conventional allogeneic CD19 CAR-T cells had succumbed

to their tumors by approximately day 135, while all but one of the CB-010 treated mice were still alive by

day 160.”

        55.     With respect to the purported durability of CB-010’s treatment effect, the Offering

Documents specifically stated, in relevant part, that “preclinical in vivo data from experiments conducted

in mouse xenograft models submitted as part of our CB-010 IND [Application] demonstrate that knocking

out PD-1 leads to a significant increase in the durability of antitumor activity and therefore overall mouse

survival.”

        56.     And with respect to the purported efficacy of CB-010’s treatment, the Offering Documents

touted that “We use our chRDNA technology to enhance, or armor, our cell therapies by creating

additional genomic edits to improve persistence of antitumor activity.”

        57.     The Registration Statement also disclosed as a “risk factor” the names of

Caribou’s competitors. While maintaining that its technology was superior, it disclosed the

names of other companies developing CRISPR-based technologies:
       Compared to first generation genome-editing approaches, our chRDNA platform has shown
       improved specificity, a reduction in off-target edits and translocations and advanced
       capability to perform multiplexed edits, in particular multiplexed insertions. While we
       believe that our scientific expertise, novel technology, and intellectual property position
       offer competitive advantages, we face competition from multiple other genome-editing
       technologies and companies. Other companies developing CRISPR-based technologies
       include, among others, Beam Therapeutics Inc., CRISPR Therapeutics AG, Editas
       Medicine, Inc., Intellia Therapeutics, Inc., Metagenomi Technologies, LLC, Poseida
       Therapeutics, Inc., and Scribe Therapeutics, Inc. Companies developing other genome-
       editing technologies include, among others, Allogene Therapeutics, Inc., bluebird bio, Inc.,
       Cellectis S.A., Precision BioSciences, Inc., and Sangamo Therapeutics, Inc.
        We believe that our CAR-T cell therapy product candidates have the potential to
        offer a superior product to patients due to genome edits we make to improve their
        persistence with the goal of extending robust CAR-T cell antitumor activity in
        patients.
        58.     Analysts focused on the Offering Documents’ statements about the Company’s

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“demonstration] in preclinical models”24 and “reference] to its process as ‘armoring’ the cells”25 in

promoting the IPO.

        59.       Further, the Registration Statement noted that the Company’s in vitro studies showed that

“CB-010 cells demonstrate dose-dependent and robust cytotoxic activity at a range of effector-to-target

ratios compared to negative control cells.” Accordingly, investors

understood that CB-010’s treatment effect would be more durable as doses were escalated.
        C.        Unbeknownst to Investors, Prior to the IPO, Caribou Executives Knew that
                  Competitors Had Already Achieved Results Comparable to Early Autologous
                  Car-T Treatments.
        60.       According to the Offering Documents, the Company’s preclinical data showed statistically

significant improvement in survival of mice that received CB-010 treatment compared to control groups

that did not. The preclinical study involved engrafting mice with acute leukemia, waiting 23 days before

commencing treatment, and then testing the mice in three separate treatment groups as follows: (1) a control

saline; (2) conventional allogeneic CD19 CAR-T cells, i.e. T cells with the anti-CD19 CAR used in CB-

010 inserted into the TRAC locus, but without the PD-1 knockout, or (3) CB-010.

        61.       Although preclinical studies on mice are common, scientists have noted that they are

limited in their ability to mimic the extremely complex process of human carcinogenesis, physiology, and

progression.26

        62.       On September 8, 2020, Caribou announced that the FDA had cleared the Company’s IND

Application for CB-010, which had included its preclinical mice study in its

data package, and the Company would begin its clinical trials of CB-010.

        63.       On October 21, 2020, a Caribou competitor also focusing on allogeneic cell therapy,


24
   Jones, Donovan, Caribou Biosciences Aims for $255 Million IPO, SEEKING ALPHA (Jul. 22, 2021),
https://seekingalpha.com/article/4440683-caribou-biosciences-aims-for-255-million-ipo
(“7/22/21 SA Article”).
25
   Hawthorne, Jason, 3 Reasons Caribou Biosciences Could Be the Best Gene-Editing Stock for Your
Portfolio, THE MOTLEY FOOL (Jul. 27, 2021) (“7/27/21 Motley Article”).
26
   Kelder, Regina, The Evolving Mouse Model in Cancer Research, EUREKA, (Jul. 10, 2023),
https://www.criver.com/eureka/evolving-mouse-model-cancer-
research#:~:text=But%20mouse%20models%20also%20have,overall%20translatability%20to%
20the%20clinic (“7/10/23 Eureka Article”).
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CRISPR Therapeutics AG (“CRISPR”) released top-line results from its ongoing Phase 1 CARBON trial

of CTX110, an allogeneic CAR-T cell therapy targeting CD19+ B-cell malignancies. The results showed

CR rates of 33%, 50%, and 100% at dose levels 2, 3, and 4, respectively, at three months. These results

“show[ed] dose dependent efficacy and response rates that are comparable to the early autologous CAR-T

trials.”27

             64.    On June 4, 2021, Allogene released updated data for its allogeneic gene-editing treatment

for non-Hodgkin lymphoma, which showed a six-month CR rate of 36% in CAR T naive LBCL patients

treated with ALLO-501 and a “CR rate of 50% across [LBCL and follicular lymphoma] histologies in CAR

T naive patients on par with autologous CAR T therapies.”28

             65.    In the Offering Documents, however, the Exchange Act Defendants directed investors to

ignore outside materials. Despite being aware of clinical data directly relevant to investors’ ability to assess

Caribou’s commercial prospects and thereby decide whether to invest in its stock, the Exchange Act

Defendants omitted to disclose this material information and dissuaded investors from learning of at least

some of the truth concealed by the misrepresentations and omissions in the Offering Documents.

             66.    Haurwitz, in particular, during the first conference Caribou’s IPO, described CB- 010 as

being “the first AlloCAR-T into the clinic with a PD-1 knockout. And our reason for removing PD-1,

using our genome editing technology is to prevent premature T-cell exhaustion to maintain these AlloCAR-

Ts and a high anti-tumor activity state for a longer period of time, of course this is one approach for



27
  Terry, Mark, Despite One Patient Death, CRISPR Therapeutics’ Off-the-Shelf CAR-T Shows
Promise, BIOSPACE, (Oct. 21, 2020) https://www.biospace.com/article/crispr-therapeutics-car-t- therapy-
for-b-cell-cancers-encouraging-in-phase-i/ (“10/21/20 Biospace Article”) (“Joseph McGuirk, professor of
Medicine and division director of Hematologic Malignancies and Cellular Therapeutics at the University of
Kansas Medical Center and investigator in the Phase I CARBON trial, noted, ‘From this early data read-
out, CTX110 has shown dose-dependent efficacy and response rates that are comparable to the early
autologous CAR-T trials. Furthermore, CTX110 had an acceptable safety profile, which could make CAR-
Ts more widely accessible.’”).
28
   Allogene Therapeutics, Inc., Allogene Therapeutics Presents Positive Phase 1 Data on ALLO- 501
and ALLO-501A in Relapsed/Refractory Non-Hodgkin Lymphoma at the 2021 Annual Meeting of
the American Society of Clinical Oncology (Jun. 4, 2021 9AM ET), https://ir.allogene.com/news-
releases/news-release-details/allogene-therapeutics-presents-
positive-phase-1 -data-allo-501 (“6/4/21 Allogene News”).
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persistence.”29
          D.      Unbeknownst to Investors, The Exchange Act Defendants Knew or Should
                  Have Known that CB-010’s Treatment Effect Was Not as Durable or as
                  Dose-Dependent as Caribou’s Preclinical Data Purportedly Indicated.
          67.     The Exchange Act Defendants misled investors regarding the durability assumptions for

CB-010 which were based on Caribou’s preclinical data.

          68.     At the time of the IPO, the Exchange Act Defendants knew or should have known, but

concealed from investors, what the Company’s mice data showed regarding overall tumor burden or cancer

progression after Day 108 and survivability after day 160. Despite knowing that 6 months of data is the

minimum necessary to demonstrate treatment durability, Defendants either concealed from investors mice

data past 5.3 months or failed to continue to study mice past 5.3 months. In either case, the Exchange Act

Defendants had no basis on which to assure investors that Caribou’s preclinical data signaled durability

absent more robust and adequate disclosures.

          69.     In addition, two months prior to the IPO, a Phase 1 clinical trial sponsored by Gracell

Biotechnologies Inc. (“Gracell”) concluded. Gracell is a Chinese company publicly traded on the NASDAQ

which has “a rich clinical-stage pipeline of multiple autologous and allogeneic product candidates with the

potential to overcome major industry challenges that persist with conventional CAR-T therapies, including

lengthy manufacturing time, suboptimal production quality, high therapy cost and lack of effective CAR-T

therapies for solid tumors.”30

          70.     Like Caribou’s CB-010 - which purportedly was the first ever allogeneic CAR-T therapy

that knocked out PD-1 - the Gracell clinical trial tested a treatment that knocked out PD- 1 in relapsed cancer

patients (“Gracell Trial”). The Exchange Act Defendants were either aware of the Gracell Trial or recklessly

failed to learn of it, given the similarity between the two treatments and the Company’s focus on its

competitors.

          71.     The Gracell Trial only generated a response in 2 out of 15 patients. As the researchers

explained, the “poor clinical response implies that CAR-T cell-intrinsic modification alone, for example,


29
     Bloomberg Transcript, Citi ’s 16th Annual BioPharma Virtual Conference (Sept. 9, 2021).
30
     Gracell Biotechnologies Inc., Corporate Profile, https://ir.gracellbio.com/.
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knocking out PD-1 in CAR-T cells, may not be enough to induce promising outcomes in the

treatment of patients',25 The Exchange Act Defendants did not disclose the results of or the existence of

the Gracell Trial in the Offering Documents.

          72.     The Exchange Act Individual Defendants repeatedly spoke about and touted CB- 010’s

preclinical and clinical trial data to the investing public throughout the Class Period, at a time when they

already had results from that data. Specifically, for nearly two years, the Exchange Act Individual

Defendants made numerous statements to investors boasting about CB- 010’s preclinical and clinical trial

data every quarter, specifically touting the purported durability of its treatment effect, when they knew or

should have known the results from the Company’s own true preclinical data and the Gracell Trial - both of

which undermined their durability statements. The fact that the Exchange Act Individual Defendants spoke

so often and in such detail about the CB-010 data demonstrates that the data was critically important to them

and that they had fully analyzed that data and were intimately familiar with all the preclinical and clinical

trial results.

          73.     Additionally, when Caribou went public, analysts specifically compared it to its “peers

Editas Medicine (EDIT), Intellia Therapeutics, and CRISPR Therapeutics (CRSP) who have already gone

public, [and] now command a combined market capitalization of over $25 billion.”26 Other “[m]ajor

competitive vendors that provide or are developing related treatments 31 32

include: Beam Therapeutics, Metagenomi Technologies, Prime Medicine, Scribe Therapeutics, Allogene

Therapeutics (ALLO), bluebird bio (BLUE), Cellectis (CLLS) (OTCPK:CMVLF), Precision BioSciences

(DTIL).”33

           74.    The market also appeared to keep track of Caribou’s competitors and bought and/or sold

Caribou stock in reaction to its competitors’ news. For example, the Company’s “stock [fell] considerably”

after the FDA put a clinical hold on Allogene because the market likely thought “that even if the [gene

editing] tool is different, the effect may be similar.” Indeed, Caribou’s “chRDNA technology accomplished]

31
 Wang, Z., Li, N., Feng, K. et al. Phase I study of CAR-T cells with PD-1 and TCR disruption in
mesothelin-positive solid tumors. Cell Mol Immunol 18, 2188-98 (2021) (“2021 Wang Study”).
32
     7/11/21 SA Article.
                                                     20
33
     7/22/21 SA Article.                                                                                        Deleted: <object><object>

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exactly the same kind of multiple genomic edits which might have caused trouble for Allogene.”34

          75.     After Caribou’s IPO, certain competitors whose clinical trials were ahead of its ANTLER

Trial posted their positive results. On December 13, 2021, Allogene published updated data from two Phase

1 clinical trials of its lead anti-CD19 AlloCART T therapy programs which was “‘on par’ with autologous

CAR T therapy”: no relapses in large B cell lymphoma (“LBCL”) CAR-T naive patients across trials who

had achieved a CR at six months and a 44% CR rate with ongoing CRs at nine months.35

          76.     On June 6, 2022, Adicet announced updated data from its Phase 1 study of its CAR-T cell

therapy for r/r B-NHL showing 75% CR rate across all dose levels and 50% of evaluable patients with at

least six months follow-up remaining cancer-free, which indicated “durable anti-tumor responses with

potential for dose related increase in durability.”36

          77.     On June 8, 2022, Precision announced new clinical data for its CD19 CAR-T




34
     10/12/21 SA Article.
35
   6/4/21 Allogene News.
36
   Adicet Bio, Inc., Adicet Bio Reports Emerging Data from ADI-001 Phase 1 Trial at the
American Society of Clinical Oncology Annual Meeting, BUSINESSWIRE (Jun. 6, 2022 7AM ET),
https://www.businesswire.com/news/home/20220603005481/en/Adicet-Bio-Reports-Emerging- Data-
from-ADI-001-Phase-1-Trial-at-the-American-Society-of-Clinical-Oncology-Annual- Meeting.
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therapy showing a 73% CR rate among evaluable relapsed patients and a 50% durable response rate                  Formatted: Left: 1.44", Right: 0.54", Top: 1.01",
greater than six months.37                                                                                       Bottom: 0.74", Different first page header

         16. Caribou’s Class Period representations portrayed its CB-010 clinical results as inline with, if

not superior to, its competitors’ results. For example, on May 12, 2022, the Company released initial results

from its Phase 1 trial showing 80% CR rate as of the February 23, 2022 data cutoff date and that patients

with a CR at 28 days had maintained it at three months. That same day, Haurwitz put these results in

perspective, noting “that the approved CAR-Ts that focus on CD19-positive disease have achieved overall

response rates of about 50% to 70% and overall response rates of 30% to 50%. These include Gilead’s

Yescarta, Bristol Myers Squibb’s Breyanzi and Novartis’ Kymriah.”38 Responding to these statements,

Caribou’s stock surged 27%.39

         E.      The Relevant Truth Emerges Over Two Corrective Disclosures.

         78.     Before markets opened on June 10, 2022, Caribou issued a press release reporting

“[p]ositive” data from the ANTLER Phase 1 clinical trial. Among other results, the Company reported that

“[a]t 6 months following the single dose of CB-010, [only] 40% of patients remained in CR (2 of 5 patients)

as of the May 13, 2022 data cutoff date.”40 This stood in contrast to the data Caribou reported just one month

ago, one day shy of the May 13, 2022 data cutoff date, showing 80% CR at 3 months. The tapering off of

CR after treatment with CB-10 prompted concern over the Company’s ability to demonstrate CB-010’s

durability.

37
  Precision Biosciences, Inc., Precision Biosciences Provides Update on Allogeneic CAR T
Programs and Path Forward with Its Lead PBCAR00191 Candidate for CAR TRelapsed Patient
Population, BUSINESSWIRE (Jun. 8, 2022), https://investor.precisionbiosciences.com/news-
releases/news-release-details/precision-biosciences-provides-update-allogeneic-car-t-programs.
38
   Armstrong, Annalee, Caribou ready to uncork the chardonnay thanks to first-in-human CART results,
FIERCE BIOTECH (May 12, 2022 10AM)
https://www.fiercebiotech.com/biotech/caribou-readv-uncork-chardonnav-thanks-first-human-
car-t-results (“5/12/22 Fierce Biotech Article”).
39
   Block, Jonathan, Caribou Biosciences rises 27% on early-stage CAR-T therapy data, SEEKING
ALPHA (5/12/2022 10:50AM ET), https://seekingalpha.com/news/3837864-caribou-biosciences- rises-27-
on-early-stage-car-t-therapy-data-for-non-hodgkin-lymphoma.
40
   Caribou Biosciences, Inc., Caribou Biosciences Reports Positive Additional Data from CB- 010
Allogeneic CAR-T Cell Therapy Phase 1 ANTLER Trial at the European Hematology Association
(EHA) 2022 Hybrid Congress, GLOBE NEWSWIRE (Jun. 10, 2022),
https://investor.cariboubio.com/news-releases/news-release-details/caribou-biosciences-reports-
positive-additional-data-cb-010 (“June 2022 Press Release”).                                                     Formatted: Font: 1 pt
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          79.    This news caused Caribou’s stock price to fall $3.62 per share, or 41.5%, on heavy trading

to close at $5.10 per share on June 13, 2022.

          80.    But when an analyst asked about “whether we expect efficacy to improve the higher doses,”

Haurwitz responded, “to be fair and maybe a bit tongue and cheek, it’s pretty hard to beat 100% CR rate

and I think what we’re really focused on at this point is the durability of these responses. [S]o the snapshot

of data that we have today is 40% of patients remaining in CR six months out, which we think is very

promising initial data and obviously something we’ll continue to track for patients at this dose level as well

as in dose level two. That’s really a big motivator for moving to 80 million cells for the second cohort.”41

As a result, investors still believed that there would be a dose-related increase in durability. Analysts too

believed Caribou was “on the right track ... because it had seen excellent data from several patients that

were only given one starting dose of CB-010 which is 40x106 CAR-T cells.”42

          81.    Haurwitz further specifically assured investors that “[t]he long-term durability at dose level

1 is comparable to autologous cell therapies,” implying that higher dosing-related durability would be

comparable as well. Analysts following Caribou reiterated this statement in recommending the stock: “it is

already established that just at dose level 1 of CB-010, it is already on par with current autologous CAR-T

therapies. That’s impressive, considering data for dose level 2 and dose level 3 have not even been released

yet.”43

          82.    But on July 13, 2023, Caribou was forced to report poor “long-term follow-up data from

the dose escalation portion of the ongoing ANTLER Phase 1 trial,” including that in three subjects given

120 million cells, there was one non responder (Caribou’s first) and two remissions lasting less than three

months. Patients thus continued relapsing despite CB-010 being dosed higher, confirming the Company’s

inability to demonstrate long-term durability.44 In addition, for the first time, Caribou cautioned against

41
   Bloomberg Transcript, CB-010 ANTLER Clinical Data at EHA 2022 (Jun. 10, 2022).
42
   8/1/22 SA Article.
43
   Chrisomalis, Terry, Caribou: Potential to Improve Response Duration With Higher Dose Level,
SEEKING ALPHA (Jan. 24, 2023 7:12AT ET), https://seekingalpha.com/article/4571880- caribou-potential-
to-improve-response-duration-with-higher-dose-level.
                                                 23
44
   Caribou Biosciences, Inc., Caribou Biosciences Reports Positive Clinical Data from Dose
Escalation of CB-010 ANTLER Phase 1 Trial in r/r B-NHL, GLOBE NEWSWIRE (Jul. 13, 2023),                           Formatted: Font: 1 pt
(“7/13/23 Press Release”).                                                                                        Formatted: Normal

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accepting its Class Period statements comparing its results to its competitors at face value because it “has

not performed any head-to- head trials comparing any of these other CAR-T cell therapies with CB-010,

and Caribou has only reviewed publicly available reports of those trials. As such, the results of these other

clinical trials may not be comparable to clinical results for CB-010.”45

           83.     This news caused Caribou’s stock price to fall $1.84 per share, or 22.6%, on heavy trading

to close at $6.30 per share on July 14, 2023.

V.         THE EXCHANGE ACT DEFENDANTS’ FALSE AND MATERIALLY
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           MISLEADING STATEMENTS AND OMISSIONS46                                                                  pt, Line spacing: Exactly 24 pt, Outline numbered +
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           A. False and Materially Misleading Statements in the Registration Statement                            Alignment: Left + Aligned at: 0" + Indent at: 0", Tab
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           84.     The Registration Statement contained untrue statements of material fact and omitted to state   Deleted: Offering Documents

other facts necessary to make the statements not misleading under the circumstances under which they were         Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
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           85.     In touting CB-010’s PD-1 knockout effect and the treatment’s attendant clinical prospects,     12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
                                                                                                                  Formatted: Default Paragraph Font
the Registration Statement stated, inter alia:
                                                                                                                  Formatted: Right: 0.51", Space After: 5.75 pt

           We use Cas9 chRDNA guides to make three edits to manufacture CB-010. We introduce,                     Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
           with high efficiency and specificity, the gene encoding the CD19- specific CAR into the                OLE_NUMBER
                                                                                                                  MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
           gene encoding the T cell receptor alpha constant, or TRAC, a component of the native T
                                                                                                                  MSG_EN_FONT_STYLE_MODIFER_SIZE
           cell receptor, or TCR. This simultaneously integrates the CD19 CAR site-specifically into              12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
           the T cell genome and eliminates TCR expression to reduce the risk of graft versus host
                                                                                                                    Deleted:
           disease, or GvHD. We also knock out the gene encoding the PD-1 protein in these
           cells to boost the persistence of CAR-T cell antitumor activity. We believe that the                   Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
                                                                                                                  OLE_NUMBER
           PD-1 knockout has the potential to reduce the likelihood of rapid tumor recurrence
                                                                                                                  MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
           and potentially confer a better therapeutic index compared to other allogeneic                         MSG_EN_FONT_STYLE_MODIFER_SIZE
           CAR-T cells. To our knowledge, CB-010 is the first allogeneic CAR-T cell therapy                       12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
           with a PD-1 knockout in clinical studies and it is being evaluated in our open-label,
                                                                                                                  Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
           multicenter ANTLER phase 1 clinical trial in the United States in adults with relapsed or              OLE_NUMBER
           refractory B cell non-Hodgkin lymphoma (NCT04637763). We have dosed the first patient                  MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
           in this clinical trial. We expect to have initial data from this clinical trial in 2022.
                                                                                                                  Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
                                                                                                                  OLE_NUMBER
           86.     The statements in ^85 supra in bold and italics were false and materially misleading and/or    MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3_
                                                                                                                  Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
omitted to state material facts necessary to make them not misleading when made because the Exchange
                                                                                                                  OLE_NUMBER
                                                                                                                  MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3 +
                                                                                                                  MSG_EN_FONT_STYLE_MODIFER_SIZE 11,MSG_EN_FON
45
     Bloomberg Transcript, CB-010 Clinical Program Update (Jul. 13, 2023) (“7/13/23 Call”).                       T_STYLE_MODIFER_NOT_ITALIC
46
     The portions of the statements alleged to be false or misleading are in bold and italics in this section.    Formatted: Font: 1 pt
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Act Defendants failed to disclose: (i) the existence of the Gracell Trial, which meant that Caribou was not

the first to use the PD-1 knockout in an allogeneic CART cell treatment; and (ii) that the Gracell Trial had

already demonstrated that knocking out the PD-1 protein was not linked to enhanced durability or clinical

performance, calling into question the purportedly unique advantage of CB-010 as a treatment.

        87.     In the Registration Statement, the Exchange Act Defendants also touted PD-1

knockout as a solution to the problem that allogeneic treatments have had with persistence, due

to the human immune system attacking the foreign donor cells:
         Our first lead product candidate, CB-010, is, to our knowledge, the first clinical- stage
         allogeneic anti-CD19 CAR-T cell therapy with PD-1 removed from the CAR-T cell
         surface by a genome-edited knockout of the PDCD1 gene. We have demonstrated in
        preclinical models that the PD-1 knockout improves the persistence of antitumor
        activity by disrupting a pathway that leads to rapid T cell exhaustion. We have dosed
        the first patient in our ANTLER phase 1 clinical trial for CB-010, a study in patients with
        relapsed or refractory B cell non-Hodgkin lymphoma, with initial data expected in 2022.
        88.     The statement identified in ^87, supra, in bold and italics was false and materially

misleading and/or omitted to state material facts necessary to make it not misleading when made because

Caribou then lacked the clinical data to show that the PD-1 knockout would improve allogeneic durability

given that the pre-clinical data in the Registration Statement did not go past 5.3 months and given that 6

months is the minimum threshold for durability.

        89.     In the Registration Statement, the Exchange Act Defendants claimed Caribou had
                                                    25
a competitive edge over other companies developing allogeneic therapies:

        The genome-editing technologies currently used in the allogeneic cell therapy field
        generally have limited efficiency, specificity, and versatility for performing the
        multiple, precise genomic edits necessary to address insufficient persistence.
        Our chRDNA technology is designed to address these genome-editing limitations
        and improve cell therapy activity. By applying this approach to allogeneic cell therapies,
        we believe we can unlock their full potential by improving upon their effectiveness and
        durability.


        90.     The statements in ^89, supra, in bold and italics were false and materially misleading

and/or omitted to state material facts necessary to make them not misleading when made because the

Exchange Act Defendants failed to disclose that Caribou’s competitors in the allogeneic gene-editing space,

including Allogene and CRISPR, had already published data that showed comparable or better durability          Formatted: Font: 1 pt
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data than approved autologous therapies, and Caribou lacked data to show that its technology was superior.

        91.     In the Registration Statement, the Exchange Act Defendants also touted the

Company’s preclinical data from a study performed in mice, presenting data for 160 days of study

in which mice were given either a control injection, CB-010 without PD-1 knockout, or CB-010

with the PD-1 knockout. The Registration Statement stated the following with respect to CB-

010’s clinical prospects based on the mice study:
         In our preclinical studies, we demonstrated that the removal of the PD-1 checkpoint from
         the CB-010 CAR-T cells provided a statistically significant survival advantage in mice
         bearing robust and metastatic B cell tumors.
                                                   ***
        Overall, our data demonstrate that the removal of the PD-1 checkpoint from the
        CB-010 CAR-T cells provided a statistically significant survival advantage in mice
        bearing robust and metastatic B cell tumors. Our data suggest that the PD- 1
        knockout may have led to a more robust debulking of the tumor by CB-010 during
        the early part of the study compared to the conventional allogeneic CD19 CAR-T
        cells, leading to a reduction in the recurrence of the tumor cells. Based on these
        data, we believe CB-010 has the potential for a better therapeutic index compared                       Moved (insertion) [10]: With respect to the purported
        to other allogeneic CAR-T cells. If a lower dose of CB-010 has meaningful activity in                   durability of CB-010’s treatment effect, as afforded¶
        the clinical setting, it would lead to several potential advantages including limited toxicity,         Formatted: Indent: Left: 0", First line: 0.53", Line
        increased numbers of doses per manufacturing run, and a reduced cost of goods.                          spacing: Exactly 23.75 pt, Outline numbered + Level: 1
                                                                                                                + Numbering Style: 1, 2, 3, … + Start at: 74 +
                                                                                                                Alignment: Left + Aligned at: 0" + Indent at: 0", Tab
                                                     26                                                         stops: 1.01", Left + Not at 1.01"
                                                                                                                Moved up [10]
        92.     The statements in ^91, supra, in bold and italics were false and materially misleading
                                                                                                                  Deleted: (Emphasis added).¶
and/or omitted to state material facts necessary to make them not misleading when made because the                Deleted: Offering Documents

Exchange Act Defendants omitted to disclose: (i) the existence of the Gracell Trial and the uncertainty about   Formatted: Right: 0.47", Space After: 0 pt
                                                                                                                  Deleted: ¶
the clinical benefits of removing PD-1 checkpoints, as the Gracell Trial already demonstrated; and (ii) given     8¶
                                                                                                                  Deleted: . . . .
that 6 months is the minimum threshold for durability, relying on 5.3 months of mice data would not be an
                                                                                                                Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
indication of CB-010’s durability in the ANTLER trial.                                                          OLE_NUMBER
                                                                                                                MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
        93.     With respect to the purported durability of CB-010’s treatment effect, as afforded              MSG_EN_FONT_STYLE_MODIFER_SIZE
                                                                                                                12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
by the PD-1 knockout strategy, the Registration Statement stated, in relevant part:                               Deleted: 010 IND
        One of the approaches we deploy to increase the persistence of CAR-T cell antitumor                     Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
        activity is to remove PD-1 from the CAR-T cell surface . . . . We believe that knocking out             OLE_NUMBER
        PD-1 will maintain the CAR-T cells in a higher antitumor state for a longer period of time,             MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
        and we believe this will result in greater initial tumor debulking in the patient which will            MSG_EN_FONT_STYLE_MODIFER_SIZE
        lead to long-term durability of CAR-T cell antitumor activity .... [O]ur preclinical in vivo            12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
        data from experiments conducted in mouse xenograft models submitted as part of                          Formatted: Font: 1 pt
        our CB-010IND [Investigational New Drug Application] demonstrate that                                   Formatted: Normal

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        knocking out PD-1 leads to a significant increase in the durability of antitumor
        activity and therefore overall mouse survival. To our knowledge, our lead product
        candidate [CB-010] is the first allogeneic CAR-T cell therapy in a clinical study with a PD-
        1 knockout, and we believe will drive the durability of allogeneic CAR-T cell antitumor
        activity.
                                                                                                               Deleted: <#>The statements referenced in ^ 38-40 were
        94.     The statement in ^93, supra, in bold and italics was false and materially misleading and/or    materially false and misleading because the Offering
                                                                                                               Documents were negligently prepared and, as a result,
omitted to state material facts necessary to make it not misleading when made for the reasons set forth in     contained untrue statements of material fact or omitted to
                                                                                                               state other facts necessary to make the statements made not
^88, supra.                                                                                                    misleading and were not prepared in accordance with the
                                                                                                               rules and regulations governing their preparation.
        B. The Exchange Act Defendants Violated The Disclosure Obligations of Items 303                        Specifically, the Offering Documents made false and/or
               and 105 of Regulation S-K                                                                       misleading statements and/or failed to disclose that: (i) CB-
                                                                                                               010’s treatment effect was not as durable as Defendants had
                                                                                                               led investors to believe; (ii) accordingly, CB-010’s clinical
        95.     SEC Regulation S-K required the Exchange Act Defendants to describe in the Registration        and commercial prospects were overstated; and (iii) as a
                                                                                                               result, the Offering Documents were materially false and/or
Statement, “any known trends or uncertainties that have had or that the registrant reasonably expects will     misleading and failed to state information required to be
                                                                                                               stated therein.¶
                                                                                                               Materially False and Misleading Statements Issued During
have a material impact ... on net sales or revenues or income from continuing operations.” 17 C.F.R. §
                                                                                                               the Class Period¶
                                                                                                               The Class Period begins on July 23, 2021, when Caribou’s
229.303(a)(3)(ii) (“Item 303”) (2017). “Disclosure is mandatory where there is a known trend or uncertainty    common stock began¶
                                                                                                               publicly trading on the NASDAQ pursuant to the materially
that is reasonably likely to have a material effect on the registrant’s financial condition or results of      false or misleading statements or omissions in the Offering
                                                                                                               Documents, as referenced in ^ 38-40, supra.¶
operations.” SEC Release Nos. 33-8056;                                                                         On September 2, 2021, Caribou issued a press release
                                                                                                               providing a business update and reporting the Company’s
                                                    27                                                         second quarter 2021 financial results. That press release
                                                                                                               stated, in relevant part, that treatment with the CB-010
34-45321; FR-61.                                                                                               therapy, inter alia, “boost[s] the persistence of CAR-T cell
                                                                                                               antitumor activity.”¶
        96.     The SEC has emphasized that Item 303’s disclosure requirements are “intended to give the       Also on September 2, 2021, Caribou filed filed a quarterly
                                                                                                               report on Form 10-Q with the SEC, reporting the Company’s
                                                                                                               financial and operational results for the quarter ended¶
investor an opportunity to look at the company through the eyes of management by providing both a short
                                                                                                               9¶

and long-term analysis of the business of the company” and “a historical and prospective analysis of the

registrant’s financial condition ... with particular emphasis on the registrant’s prospects for the future.”

S.E.C. Release No. 6835, 1989 WL 1092885, at *3, *17. Thus, “material forward-looking information

regarding known material trends and uncertainties is required to be disclosed as part of the required

discussion of those matters and the analysis of their effects.” See Comm’n Guidance Regarding Mgmt.’s

Discussion and Analysis of Fin. Condition and Results of Operations, S.E.C. Release No. 8350, 2003 WL

22996757, at *11 (Dec. 19, 2003).

        97.     Item 303 affirmatively required the Exchange Act Defendants to disclose the trends and

uncertainties related to Caribou with a high degree of specificity to comply with Regulation S-K’s rigorous

disclosure requirements. Yet the Exchange Act Defendants omitted to disclose in the Registration Statement
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that at least two competitors had already demonstrated that their allogeneic CAR-T cell therapy had dose-
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dependent efficacy and response rates comparable to the early autologous CAR-T trials, so Caribou was not

the first. And the Exchange Act Defendants also concealed that a Phase 1 clinical trial in which PD-1 was

knocked out in relapsed cancer patients had previously only generated a response in 2 out of 15 patients,

leading the researchers leading that trial to conclude “that CAR-T cell-intrinsic modification alone, for

example, knocking out PD-1 in CAR-T cells, may not be enough to induce promising outcomes in the

treatment of patients.” Accordingly, it was misleading for Caribou to present its preclinical data as having

“demonstrated” the durability of its allogeneic treatment effect any more or better than its competitors’

preclinical data had. The Exchange Act Defendants’ omissions thus concealed from investors an uncertainty

about the commercial viability of the Company’s CB- 010 therapy, and of the Company itself because its

therapies all hinged on the same technology.



                                                     28
        98.     The Exchange Act Defendants’ material omissions also violated their affirmative

disclosure duties imposed by Regulation S-K Item 105, which required them to include in the Registration

Statement a “discussion of the most significant factors that make the offering speculative or risky.” 17

C.F.R. § 229.503I (2011). Item 105’s purpose is “to provide investors with a clear and concise summary of

the material risks to an investment in the issuer’s securities.” Sec. Offering Reform, S.E.C. Release No.

8501, 2004 WL 2610458, at *86 (Nov. 3, 2004). The discussion of risk factors must be specific to the

particular company and its operations, and must explain how the risk affects the company and/or the

securities being offered. Generic or boilerplate attempts to disclose potential risks and shield oneself from

liability do not tell investors how the specific risks could affect their investment. See Statement of the

Comm’n Regarding Disclosure of Year 2000 Issues and Consequences by Pub. Cos., Inv. Advisers, Inv.

Cos., & Mun. Sec. Issuers, 1998 WL 425894, at *14 (Jul. 29, 1998).

        99.     Item 105 required the Exchange Act Defendants to disclose the most significant risks that

could adversely affect Caribou’s present or future business expectations and not just reiterate boilerplate,

generic risks that could apply to virtually any other drug development or biopharmaceutical company.

        100.    The risk that CB-010 therapy would not prove durable in humans, given that knocking out
                                                                                                                Formatted: Font: 1 pt
the PD-1 in CAR-T cells had already shown to not be a promising outcome when used to treat humans, was
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already likely to occur, and was likely to adversely affect the Caribou’s present or future business          Formatted                                              ... [33]
                                                                                                              Deleted: (the “2Q21 10-Q”).
expectations, and, in fact, did have a negative impact on its business prospects, yet the Exchange Act
                                                                                                              Deleted: durability
Defendants failed to disclose these specific risks in the Registration Statement.                             Deleted: 010’s
         C.       After the IPO, the Exchange Act Defendants Continued to Mislead Investors                   Deleted: effect, the 2Q21 10-Q
                  Concerning CB-010
                                                                                                              Formatted                                              ... [34]
         101.     On September 2, 2021, Caribou filed its quarterly report on Form 10-Q with the SEC,         Formatted                                              ... [36]
                                                                                                              Formatted                                              ... [37]
reporting its financial and operational results for the quarter ended June 30, 2021. With respect to the
                                                                                                              Formatted                                              ... [38]
purported novelty of CB-010 and the durability of its treatment effect, that filing                           Formatted                                              ... [39]
                                                                                                              Formatted                                              ... [40]
                                                     29
stated, in relevant part, that:                                                                               Formatted                                              ... [41]
                                                                                                              Formatted                                              ... [42]
         Our lead product candidate, CB-010, is, to our knowledge, the first clinical-stage
         allogeneic anti-CD19 CAR-T cell therapy with programmed cell death protein 1                         Formatted                                              ... [35]
         (“PD-1 ”) removed from the CAR-T cell surface by a genome-edited knockout of                         Formatted                                              ... [43]
         the PDCD1 gene. We have demonstrated in preclinical models that the PD-1                             Formatted                                              ... [44]
         knockout improves the persistence of antitumor activity by disrupting a pathway that
                                                                                                              Formatted
         leads to rapid T cell exhaustion.47                                                                                                                         ... [45]
                                                                                                              Formatted                                              ... [46]
         102.     The statements in ^101, supra, in bold and italics were false and materially misleading     Formatted                                              ... [47]
                                                                                                                Deleted: [PD-1]
when made and/or omitted material facts necessary to make them not misleading when made because: (i)
                                                                                                              Formatted                                              ... [48]
Caribou was not the first to use the PD-1 knockout in an allogeneic CAR-T cell treatment; (ii) the Gracell    Formatted                                              ... [49]
Trial had already demonstrated that knocking out the PD-1 protein was not linked to enhanced durability or    Deleted: <#>Appended as exhibits to the 2Q21 10-Q were
                                                                                                                                                                ... [50]
                                                                                                              Deleted: issued a press release providing a business update
                                                                                                                                                                    ... [52]
performance; and (iii) Caribou then lacked sufficient preclinical data to conclude that the PD-1 knockout
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improved the persistence of anti-tumor activity because its pre-clinical data did not go beyond 5.3 months,   Formatted                                              ... [51]
                                                                                                              Deleted: the Company’s
below the minimum threshold for durability.
                                                                                                              Deleted: (the “3Q21 10-Q”).
         103.     On November 9, 2021, Caribou filed its quarterly report on Form 10-Q with the SEC,          Deleted: 44
                                                                                                              Deleted: , including its purported
reporting its financial and operational results for the quarter ended September 30, 2021. That filing
                                                                                                              Formatted                                              ... [53]
contained substantively the same statements as referenced in ^101, supra, regarding CB-010 being the          Deleted: “
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“first clinical-stage allogeneic anti-CD19 CAR-T cell therapy” with PD-1 knocked out and Caribou’s
                                                                                                              Formatted                                              ... [54]
“demonstration] in preclinical models” of CB-010’s resulting ability to “improve[] the persistence            Formatted                                              ... [55]
                                                                                                              Formatted                                              ... [56]
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47
   Caribou Biosciences, Inc., Form 10-Q for the quarter ending June 30, 2021 (Sept. 2, 2021),                 Formatted                                              ... [32]
https://investor.cariboubio.com/node/6856/html (“2Q21 10-Q”).                                                 Formatted                                              ... [31]

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                                                                                                              Deleted: .
of antitumor activity.”48
                                                                                                              Deleted: <#>Appended as exhibits to the 3Q21 10-Q were
        104.     The statements in ^103, supra, in bold and italics were false and materially misleading      substantively the same SOX certifications as referenced in ^
                                                                                                              45, supra, signed by the Exchange Act Individual
when made and/or omitted material facts necessary to make them not misleading because: (i) Caribou was        Defendants.¶

not the first to use the PD-1 knockout in an allogeneic CAR-T cell treatment; (ii) the Gracell Trial had

already demonstrated that knocking out the PD-1 protein was not linked to enhanced durability or
                                                                                                              Deleted: issued a press release reporting the Company’s
performance; and (iii) Caribou then lacked sufficient preclinical data to conclude that the PD-1 knockout     fourth quarter and full year 2021 financial results and
                                                                                                              providing a corporate update. That press release¶
improved the persistence of anti-tumor activity because its pre-clinical data did not go beyond 5.3 months,   10¶
                                                                                                              stated, in relevant part:¶
below the minimum threshold for durability.                                                                   Caribou continues to enroll patients ANTLER, a Phase 1
                                                                                                              clinical trial of CB-010 in adults with [r/r B-NHL]. CB-010
                                                                                                              is an allogeneic anti-CD19 CAR-T cell therapy engineered
         105.    On March 21, 2022, Caribou filed its 2021 10-K. That filing contained substantively the      using Cas9 CRISPR hybrid RNA-DNA (chRDNA)
                                                                                                              technology to insert a CD19-specific CAR into the TRAC
same statements as referenced in ^101, supra, regarding CB-010 being the “first clinical-stage allogeneic     gene and knock out PD-1 to boost the persistence of
                                                                                                              antitumor activity.¶
anti-CD19 CAR-T cell therapy” with PD-1 knocked out and Caribou’s “demonstration] in preclinical              (Emphasis added).¶
                                                                                                              Also on March 21, 2022, Caribou
models” of CB-010’s resulting ability to “improve[] the persistence of antitumor activity” which were         Deleted: an annual report on Form
                                                                                                              Deleted: with the SEC, reporting the Company’s financial
                                                                                                                                                                 ... [59]
false and materially misleading for the reasons set forth in ^102, supra.
                                                                                                              Formatted                                               ... [58]
         106.    The 2021 10-K further stated that “our preclinical in vivo data from experiments conducted   Deleted: 44, supra, regarding CB-010, including its ... [60]
                                                                                                              Deleted: “
in mouse xenograft models submitted as part of our CB-010 IND application demonstrate that knocking
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out PD-1 leads to a significant increase in the durability of antitumor activity and therefore overall        Deleted: , while adding that Defendants “expect to disclose
                                                                                                                                                                   ... [65]
                                                                                                              Formatted                                               ... [61]
mouse survival.”
                                                                                                              Formatted                                               ... [62]
         107.    In addition, the 2021 10-K noted that the Company’s in vitro studies showed that “CB-010     Formatted                                               ... [63]
cells demonstrate dose-dependent and robust cytotoxic activity at a range of effector- to-target ratios       Formatted                                               ... [64]
                                                                                                              Deleted: also
compared to negative control cells.”                                                                          Deleted: , inter alia,

         108.    The statements in ^105-07, supra, in bold and italics were false and materially misleading   Formatted                                               ... [66]
                                                                                                              Formatted                                               ... [67]
when made and/or omitted material facts necessary to make them not misleading because: (i) Caribou lacked
                                                                                                              Deleted: ”; and that “we believe the PD-1 knockout will
                                                                                                                                                                  ... [68]
sufficient preclinical data to conclude that the PD-1 knockout improved the persistence of anti-tumor         Deleted: Appended as exhibits to
                                                                                                              Deleted: were substantively the same SOX certifications  as
                                                                                                                                                                  ... [69]
activity because its pre-clinical data did not go beyond 5.3 months, below the minimum threshold for
                                                                                                              Deleted: first quarter 2022 financial results and providing
                                                                                                                                                                     ... [70]
durability and (ii) the Exchange Act Defendants had no reasonable basis to state that CB-010 demonstrated     Deleted: in adults with [r/r B-NHL] was accepted
                                                                                                              Deleted: EHA [the European Hematology Association],”
                                                                                                                                                              ... [71]
48
  Caribou Biosciences, Inc., Form 10-Q for the quarter ending September 30, 2021 (Nov. 9,                     Deleted: 11¶                                            ... [72]
2021) , https://investor.cariboubio.com/node/6986/html.                                                       Formatted: Font: 1 pt
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dose dependency; indeed, as investors would later learn, patients did not exhibit durable responses to CB-

010 despite being given triple the initial dose.
                                                                                                              Deleted: a
         109.    On May 9, 2022, Caribou filed its quarterly report on Form 10-Q with the SEC,
                                                                                                              Deleted:



                                                    31
                                                                                                              Deleted: the Company’s
reporting its financial and operational results for the quarter ended March 31, 2022. That filing contained   Deleted: (the “1Q22 10-Q”).

substantively the same statements as referenced in ^101, supra, regarding CB-010 being the “first clinical-   Formatted: Line spacing: Exactly 24 pt, No bullets or
                                                                                                              numbering, Tab stops: Not at 1"
stage allogeneic anti-CD19 CAR-T cell therapy” with PD-1 knocked out and Caribou’s “demonstration]            Deleted: 44
                                                                                                              Deleted: , including its purported
in preclinical models’’ of CB-010’s resulting ability to “improve[] the persistence of antitumor
                                                                                                              Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
activity”43 which were false and materially misleading for the same reasons stated in ^102, supra.            OLE_NUMBER
                                                                                                              MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
         110.    Then, on May 12, 2022, Caribou issued a press release announcing “Positive Initial Data      MSG_EN_FONT_STYLE_MODIFER_SIZE
                                                                                                              12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
for CB-010 Anti-CD19 Allogeneic CAR-T Cell Therapy.”44 That data included:                                    Deleted: “
        -- 100% ORR (5 of 5patients) and 80% CR (4 of 5patients) achievedfollowing                            Deleted: ”
        1 dose at the initial dose level in patients with aggressive r/r B-NHL -
                                                                                                              Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
         -- CB-010 is the 1st allogeneic CAR-T cell therapy to achieve 100% ORR (5 of 5                       OLE_NUMBER
         patients) ----                                                                                       MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
                                                                                                              MSG_EN_FONT_STYLE_MODIFER_SIZE
                                                                                                              12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
         111.    The May 2022 Press Release specifically stated that “[a]s of the February 23, 2022 data
                                                                                                              Formatted                                            ... [73]
cutoff date, 6 patients had been treated with CB-010 and 5 had completed the 28-day dose limiting toxicity    Formatted                                            ... [74]
evaluation period. 100% (n=5) achieved a response; 80% (n=4) achieved a CR, and 20% (n=1) achieved a          Formatted                                            ... [75]
                                                                                                              Formatted                                            ... [76]
partial response (PR). All 4 patients who achieved a CR at 28 days had an ongoing CR at 3 months.”
                                                                                                              Deleted: <#>Appended as exhibits to the 1Q22 10-Q were
                                                                                                                                                                ... [77]
Accordingly, the Company’s “initial results demonstrate[ed] a 100% overall response rate (ORR)                Deleted: <#>”. That press release quoted Defendant ... [78]
                                                                                                              Deleted: Our
and 80% complete response rate (CR) in cohort 1 (n=5 evaluable) from its ANTLER Phase 1 trial for
                                                                                                              Deleted: CB-010 data are exciting, and we believe these
                                                                                                                                                                  ... [79]
CB-010 in patients with relapsed or refractory B cell non-Hodgkin lymphoma (r/r B-NHL).”                      Deleted: . These
                                                                                                              Formatted                                            ... [80]
         112.    In addition, the May 2022 Press Release quoted Haurwitz as touting that “[t]hese excellent
                                                                                                              Formatted                                            ... [81]
initial outcomes represent important steps toward validating our chRDNA genomeediting platform as             Deleted: genome-editing

well as our plans for future development of CB-010 and our broader 49 50 pipeline’" and CB-010 as             Formatted                                            ... [82]
                                                                                                              Formatted                                            ... [83]

49
                                                                                                              Deleted: pipeline . . .
   Caribou Biosciences, Inc., Form 10-Q for the quarter ending March 31, 2022 (May 9, 2022),
                                                                                                              Deleted: is
https://investor.cariboubio.com/node/7346/html.
50
   Caribou Biosciences, Inc., Caribou Biosciences Announces Positive Initial Data for CB-010                  Formatted: Font: 1 pt
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“the first allogeneic anti-CD19 CAR-T cell therapy in the clinic with a PD-1 knock-out, a genome-editing
                                                                                                              Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
strategy designed to limit premature CAR-T cell exhaustion...”                                                OLE_NUMBER
                                                                                                              MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
           113.    Also on May 12, 2022, Fierce Biotech provided a statement from Haurwitz comparing          MSG_EN_FONT_STYLE_MODIFER_SIZE
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these results to approved autologous therapies: “the approved CAR-Ts that focus on CD19-positive disease      Deleted: , potentially leading to better

have achieved overall response rates of about 50% to 70% and overall response rates of 30% to 50%. These

include Gilead’s Yescarta, Bristol Myers Squibb’s Breyanzi and Novartis’ Kymriah.”51

           114.    These statements caused Caribou stock to surge 27%. However, when the Exchange Act

Defendants released this early data, they had in hand the ANTLER six-month data, which they promised

they would present the following month at the European Hematology Association (“EHA”) Conference.

Indeed, the cutoff date for the ANTLER six-month data was May 13, 2022, just one day after the Exchange

Act Defendants issued the May 2022 Press Release. As discussed herein, results from the six-month data

were far less impressive, demonstrating that by six months - the minimum threshold for treatment durability

- three of six patients in the ANTLER trial relapsed with progressive disease and only two out of five

patients were still responding to treatment at six months. The statements in the May 2022 Press Release

were misleading for failing to disclose the six-month data of which the Exchange Act Defendants were then

in possession and which demonstrated that CB-010 lacked durability.

           115.    On June 10, 2022 the Company presented six-month data for the CB-010 ANTLER Trial

at the EHA Conference. The data demonstrated that by six months, three of the six patients in ANTLER

had relapsed with progressive disease. Despite this, the Exchange Act Defendants continued to assure

investors that CB-010 leads to longer durability because of its unique PD-1 knockout design, and to tout

Caribou’s preclinical study results.

           116.    During the EHA conference call and webcast (“June 2022 Conference Call”),

Steven Kanner, Caribou’s Chief Scientific Officer stated that “on the poster in a preclinical model where


Anti-CD19 Allogeneic CAR-T Cell Therapy, GLOBE NEWSWIRE (MAY 12, 2022),
https://investor.cariboubio.com/news-releases/news-release-details/caribou-biosciences-
announces-positive-initial-data-cb-010-anti (“May 2022 Press Release”).
                                                    32
51
     5/12/22 Fierce Biotech Article.                                                                          Formatted: Font: 1 pt
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we allowed the mice to become heavily burdened by tumor growth for quite some time and then we                  through sustained antitumor activity. We are slated to
                                                                                                                present additional ANTLER interim data at EHA next month
did the treatments and what you see is that CB-010 leads to longer durability than an identical cell            and

without the PD-1 knockout...”

        117.     In addition, in response to a question from analyst Luca Rissi, Haurwitz specifically stated

that regarding:
         whether we expect efficacy to improve the higher doses[,] to be fair and maybe a bit                     Deleted: more data by year end as we …fficacy to
         tongue and cheek, it’s pretty hard to beat 100% CR rate and I think what we’re really                    improve the higher doses[,] to be fair and maybe a bit
                                                                                                                  tongue and cheek, it’s pretty hard to beat 100% CR rate
         focused on at this point is the durability of these responses. To the snapshot of data that              and I think what we’re really focused on at this point is
        we have today is 40% of patients remaining in CR six months out, which we think                           the durability of these responses. To the snapshot of
        is very promising initial data and obviously something we’ll continue to track for                        data that we have today is 40% of patients remaining in
                                                                                                                  CR six months out, which we think is very promising
        patients at this dose level as well as in dose level two. That’s really a big motivator for               initial data and obviously something we’ll continue to
        moving to 80 million cells for the second cohort.                                                         advance our lead program. Our overarching goal is to
                                                                                                                  goal is to develop CB-010 such that it will
                                                                                                                  meaningfully rival autologous cell therapies to reach
        118.     Kanner and Haurwitz’s statements in ^^116-17, supra, in bold and italics were false and          broader groups of patients globally who are in need of
                                                                                                                  off-the-shelf treatments                              ... [84]
materially misleading when made and/or failed to disclose the Gracell Trial which seriously called into         Formatted: Right: 0.54", Space After: 11.75 pt
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question the PD-1 knockout mechanism as a basis for longer durability and thus whether increased dosing
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would lead to better durability.                                                                                Deleted: contained …n ^ 42-56…^116-17, supra, in bold
                                                                                                                                                                  ... [87]

        119.     Then, on August 9, 2022, Caribou filed its quarterly report on Form 10-Q with the SEC,         Formatted                                                ... [86]
                                                                                                                Moved down [11]
reporting its financial and operational results for the quarter ended June 30, 2022. In that filing, the
                                                                                                                Deleted: data cutoff.” Similarly, a Bloomberg Intelligence
                                                                                                                                                                      ... [89]
Exchange Act Defendants continued to tout Caribou’s “demonstration] in preclinical models” of CB-               Formatted                                                ... [88]
                                                                                  52                            Deleted: <#>On this news Caribou’s stock price fell $1.78
                                                                                                                                                                     ... [90]
010’s purported ability to "improve[] the persistence of antitumor activity.”
                                                                                                                Deleted: <#>^ 44, supra, regarding …reclinical models”   of
                                                                                                                                                                   ... [92]
        120.     The statement in ^119, supra, in bold and italics was false and materially misleading and/or   Formatted                                                ... [91]
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omitted material facts necessary to make it not misleading because Caribou lacked sufficient preclinical
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data to conclude that the PD-1 knockout improved the persistence of anti-tumor activity. Specifically, the      Deleted: <#>.
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pre-clinical data did not go beyond 5.3 months, below the minimum threshold for durability.
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         121.    On November 8, 2022, Caribou issued a press release reporting third quarter 2022 financial
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results and providing a business update. That press release quoted Haurwitz, who stated, in relevant part:      Deleted: <#>Appended as exhibits to the 2Q22 10-Q were
                                                                                                                                                                  ... [96]
         We have seen highly promising results from our lead allogeneic cell therapy, CB-                       Formatted                                                ... [97]
         010, at the lowest starting dose in the ANTLER clinical trial in patients with [r/r -NHL]              Deleted: With respect to CB-010 and the ANTLER Phase  1
                                                                                                                                                                ... [98]
                                                                                                                Deleted: <#>The same November 8, 2022 press release
                                                                                                                                                                 ... [99]
52
   Caribou Biosciences, Inc., Form 10-Q for the quarter ending June 30, 2022 (Aug. 9, 2022),                    Formatted                                              ... [100]
https://investor.cariboubio.com/node/7496/html.                                                                 Formatted: Font: 1 pt
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         . . . . The . . . antitumor activity for CB-010 at dose level 1 are encouraging, and we               Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
         look forward to generating additional efficacy and durability data from the dose escalation           OLE_NUMBER
         phase of the ANTLER trial.53 54                                                                       MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
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         122.    Haurwitz’s statements in ^121, supra, were false and materially misleading when made          12,MSG_EN_FONT_STYLE_MODIFER_ITALIC

because she led investors to believe that increasing the dosage of CB-010 would lead to greater efficacy and

durability. In truth, as Haurwitz was or should have been aware, the Gracell Trial called into question the
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viability of CB-010’s purportedly unique mechanism of action in knocking out PD-1, which meant that no
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matter how high the dose, CB-010 would not demonstrate efficacy and durability.                                Exactly 24 pt, Outline numbered + Level: 1 +
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         123.    Also on November 8, 2022, Caribou filed its quarterly report on Form 10-Q with the SEC,       Left + Aligned at: 0" + Indent at: 0", Tab stops: 1",
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reporting its financial and operational results for the quarter ended September 30, 2022. That filing
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contained substantively the same statements as referenced in ^101, supra, regarding Caribou’s
                                                                                                               Deleted: (the “3Q22 10-Q”).
“demonstration] inpreclinical models’" of CB-010’s purported ability to “improve!1 the persistence             Deleted: 44

                         418                                                                                   Deleted: CB-010, including its
of antitumor activity,”        which were false and misleading for the reasons stated in ^102, supra.
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         124.    The Exchange Act Defendants also continued to mislead investors into believing that CB-       OLE_NUMBER
                                                                                                               MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
010 was just as durable as autologous cell therapies. On November 17, 2022, during the Jefferies LLC           MSG_EN_FONT_STYLE_MODIFER_SIZE
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London Healthcare Conference, Haurwitz stated that:                                                            Deleted: “
       Quite remarkably, we saw a 100% complete response rate as best response, which                          Deleted: ”
       to the best of my knowledge is the best anyone has seen for a cell therapy at such a low
                                                                                                               Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
       dose. And importantly, we’ve now observed a 50% six-month CR rate, showing really                       OLE_NUMBER
       quite promising and durable activity. To put this in context, what we often hear from                   MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
         KOLs in this space, is that there are real world experience with their patients in                    MSG_EN_FONT_STYLE_MODIFER_SIZE
         the clinic today, is about a 33% six months CR rate with autologous CAR-Ts. So                        12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
         we think this is a really compelling start, especially considering that it’s only just level 1.       Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
                                                                                                               OLE_NUMBER
         125.    Then, on December 7, 2022, during the Bank of America 2022 Biotech SMID Cap                   MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
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Conference, in response to a question from Senior Biopharma Analyst Jeff Beacham, Haurwitz similarly           12,MSG_EN_FONT_STYLE_MODIFER_ITALIC

stated that:                                                                                                   Formatted                                              ... [101]
         To your point, clearly duration of response is really important in this field. And often what         Formatted                                              ... [102]
         we hear from physicians today whose patients are getting the approved                                 Formatted                                              ... [103]
                                                                                                               Deleted: Appended as exhibits to the 3Q22 10-Q were
                                                                                                                                                                ... [104]
53
  Caribou Biosciences, Inc., Caribou Biosciences Reports Third Quarter 2022 Financial Results
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and Provides Business Update, GLOBE NEWSWIRE (NOV. 8, 2022),
                                                                                                               Deleted: .¶                                            ... [105]
https://investor.cariboubio.com/news-releases/news-release-details/caribou-biosciences-reports-
third-quarter-2022-financial-results (“3Q22 Press Release”).                                                   Deleted: Defendants had led investors to believe; (ii)... [106]
54
   Caribou Biosciences, Inc., Form 10-Q for the quarter ending September 30, 2022 (Nov. 8,                     Deleted: THE TRUTH FULLY EMERGES¶                      ... [107]
2022) , https://investor.cariboubio.com/node/7661/html.                                                        Formatted: Font: 1 pt
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        commercial antilogous [ph] CAR-Tproducts they ’re seeing something like 30 to
        35% six months CR rates in the real world clinic experience. And so, we were really
        pleased a little bit later this year to share a 50% six month CR rate for this initial cohort of
        patients.

        126.     And on December 12, 2022, Caribou issued a press release reporting 12-month clinical data

from cohort 1 in the ANTLER trial where patients were still given the initial 40x60 CAR-T cell dose

(“December 2022 Press Release”). While only 2 of 6 patients continued responding to treatment at 12-

months, Haurwitz nevertheless represented that, “[t]he long-term durability at dose level 1 is

comparable to autologous cell therapies and we believe CB-010 has the potential to set a new
therapeutic bar for what allogeneic anti-CD19 CAR-T cell therapies can achieve.”55

        127.     Then, on March 9, 2023, Caribou issued a press release reporting fourth quarter and full

year 2022 financial results and providing a business update.56 That press release quoted Haurwitz as stating,

in relevant part, “[t]he initial dose level of CB-010 demonstrated 6-month

complete response rates that have the potential to rival the responses seen with approved

autologous CAR-T cell therapies'"
         128.    Haurwitz’s statements in ^124-27, supra, were false and materially misleading when made

for failing to disclose that unlike its autologous counterparts, CB-010 would not demonstrate increased

durability when administered at a higher dose because the Gracell Trial seriously called into question CB-

010’s PD-1 knockout as a basis for increased durability. At the very least, the Exchange Act Defendants

were required to disclose the Gracell Trial and its implications to make the above statement not materially

misleading.

         129.    Also on March 9, 2023, Caribou filed its annual report on Form 10-K with the SEC,

reporting its financial and operational results for the quarter and year ended December 31, 2022. That filing



55
  Caribou Biosciences, Inc., Caribou Biosciences Reports CB-010 ANTLER Phase 1 Trial
Progress, GLOBE NEWSWIRE (Dec. 12, 2022), https://investor.cariboubio.com/news- releases/news-
release-details/caribou-biosciences-reports-cb-010-antler-phase-1-trial-progress.
56
   Caribou Biosciences, Inc., Caribou Biosciences Reports Fourth Quarter and Full Year 2022
Financial Results and Provides Business Update, GLOBE NEWSWIRE (Mar. 9, 2023),
https://investor.cariboubio.com/news-releases/news-release-details/caribou-biosciences-reports-
fourth-quarter-and-full-year-2022 (“4Q22 Press Release”).                                                       Formatted: Font: 1 pt
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contained substantially the same statements referenced in ^101, supra, regarding Caribou’s

“demonstration] inpreclinical models’" of CB-010’s purported ability to “improve[] the persistence

of antitumor activity,” which were false and materially misleading for the reasons stated in ^102, supra57
         130.    On May 9, 2023, Caribou filed its quarterly report on Form 10-Q with the SEC, reporting

its financial and operational results for the quarter ended March 31, 2023. With respect to the purported

durability of CB-010’s treatment effect, that filing stated, in relevant part, that “ We have demonstrated

in preclinical models that the PD-1 knockout improves the durability of antitumor activity by

disrupting a pathway that leads to rapid T cell exhaustion.”58

         131.    The statement in ^130, supra, in bold and italics was false and materially misleading and/or

omitted to state material facts necessary to make it not misleading when made because: (i) Caribou then

lacked the pre-clinical data to show that PD-1 knockout would improve allogeneic durability given that the

pre-clinical data in the Registration Statement did not go past 5.3 months and given that 6 months is the

minimum threshold for durability and (ii) the Exchange Act Defendants failed to disclose that the Gracell

Trial seriously called into question the notion that the PD-1 knockout improves durability.

        D.       The Individual Exchange Act Defendants’ False SOX Certifications
        132.     Appended as exhibits to each of Caribou’s Class Period quarterly and annual reports on

Forms 10-Q and 10-K filed with the SEC were signed certifications pursuant to the Sarbanes-Oxley Act of

2002 (“SOX”), wherein the Exchange Act Individual Defendants certified that “[t]he [10-Q/10-K] fully

complies with the requirements of section 13(a) or 15(d) of the [Exchange Act]” and that “[t]he information

contained in the [10-Q/10-K] fairly presents, in all material respects, the financial condition and result of

operations of the Company.”

        133.     The Exchange Act Individual Defendants’ Class Period SOX certifications were false and

misleading because Caribou’s Class Period 10-Q’s and 10-K’s did not fairly present in all material respects



57
   Caribou Biosciences, Inc., Form 10-K for the fiscal year ending December 31, 2022 (Mar. 9,
2023) , https://investor.cariboubio.com/node/7886/html.
58
   Caribou Biosciences, Inc., Form 10-Q for the quarter ending March 31, 2023 (May 9, 2023),
https://investor.cariboubio.com/node/8011/html).                                                                Formatted: Font: 1 pt
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the financial condition and result of operations of the Company due to the false and materially misleading

statements therein, as set forth above.

VI.     LOSS CAUSATION
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        134.     On June 10, 2022, during pre-market hours, Caribou issued a press release reporting
                                                                                                              Deleted: ] new 12-month clinical data
“Positive Additional Data from CB-010 Allogeneic CAR-T Cell Therapy Phase 1 ANTLER Trial at the               Formatted: Justified, Line spacing: Exactly 24 pt,
                                                                                                              Outline numbered + Level: 1 + Numbering Style: 1, 2,
[EHA] 2022 Hybrid Congress,”59 Among other results, that press release reported that “[a]t 6 months           3, … + Start at: 128 + Alignment: Left + Aligned at: 0"
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following the single dose of CB-010, 40% of patients remained in CR (2 of 5 patients) as of the               Deleted: cohort 1 in the ongoing ANTLER

May 13, 2022 data cutoff date.”                                                                               Deleted: trial, which [purportedly] show[ed] long-term
                                                                                                              durability following a single infusion of CB-010
        135. And Jacob Plieth of Evaluate Vantage pointed out later that day:60                               Deleted: initial dose level 1 (40x106 CAR-T cells).”
                                                                                                              Specifically
        Caribou has hailed its Crispr-edited CD19-targeting lead project, CB-010, as the
        first ever off-the-shelf Car-T to show a 100% complete response rate.                                 Deleted: stated, in relevant part:
        Unfortunately, this does not tell the whole story: as the group’s EHA poster                          Deleted: Cohort 1 results show:¶
        revealed today, few of the remissions are durable.                                                    6
                                                                                                              Deleted: 6 patients achieved a [CR] as best response¶
        Caribou thus appears to be the latest allogeneic Car-T player to run into the                         3 of 6 patients maintained a durable CR at 6 months¶
        problem of relapse, after this issue last year derailed Allogene, Crispr                              2 of 6 patients maintain a long-term CR at the 12 month scan
        Therapeutics and Precision Biosciences.                                                               and remain on the trial¶
                                                                                                              18 months is the longest CR maintained to date in ANTLER,
                                              ***                                                             achieved by the first patient dosed with CB-010¶
                                                                                                              16¶
        [B]y six months three of the six patients relapsed with progressive disease. Two of the               (Emphases added.) Accordingly, concerns
        three remaining CRs were ongoing beyond six months, and Caribou added that the first                  Deleted: the CB-010 treatment lacked significant durability
        patient treated remained in CR at their 12-month scan, after the abstract’s cutoff date. All          were confirmed, despite repeated assurances by Defendants
        six subjects received the first dose level of 40 million cells, but it will not go unnoticed          to the contrary.
        that the most durable CR is in follicular lymphoma, a relatively slow-growing disease.

        136.     This observed tapering-off of CR after treatment with CB-010 understandably prompted
                                                                                                              Moved (insertion) [11]: For example, also on June 10,
investor concern over Caribou’s ability to demonstrate the durability of the CB-010 treatment. For example,   2022, online investor news resource Seeking Alpha reported
                                                                                                              that “Caribou [was] in selloff after [the] data for cancer
also on June 10, 2022, online investor news resource Seeking Alpha reported that “Caribou [was] in selloff    candidate [CB-010]” because “only two patients . . .
                                                                                                              remained on CR as of the May
after [the] data for cancer candidate [CB-010]” because “only two patients . . . remained on CR as of the     Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
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May [13, 2022] data cutoff.” Similarly, a Bloomberg Intelligence analyst wrote that CB-010 “showed            MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
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59                                                                                                            12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
   6/10/22 Press Release.
60
  Plieth, Jacob, EHA 2022 - Caribou’s turn to run into allo Car-T relapses, EVALUATE VANTAGE
(Jun. 10, 2022), https://www.evaluate.com/vantage/articles/events/conferences/eha- 2022-caribous-turn-
run-allo-car-t-relapses (“6/10/22 EV Article”).
                                                 38
61
  Lokuwithana, Dulan, Caribou in selloff after data for cancer candidate; SVB says buy the dip,
SEEKING ALPHA (Jun. 10, 2022 2:36PM ET), https://seekingalpha.com/news/3847775-crbu- stock-                   Formatted: Font: 1 pt
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lower-than-desired durability, with a [CR] in two out of five patients at six months[;]” and an SVB Securities

analyst wrote that the update “has bears [i.e., pessimistic investors] arguing questions of durability of CR’s
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among patients with the most aggressive disease[.]”
                                                                                                                    Deleted: 9.03
          137.      On this news, Caribou’s stock price fell $3.62 per share, or 41.51%, to close at $5.10 per      Deleted: 8.16
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share on June 13, 2022 on heavy trading volume, damaging investors. Despite this decline in the Company’s
                                                                                                                    pt, Outline numbered + Level: 1 + Numbering Style: 1,
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stock price, Caribou securities continued to trade at artificially inflated prices throughout the remainder of
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the Class Period because of the Exchange Act Defendants’ continued misstatements and omissions                      Deleted: December 12
                                                                                                                    Deleted: .¶
regarding what the Company’s clinical trials had demonstrated regarding the durability of CB-010’s                  As of the time this Complaint was filed, Caribou common
                                                                                                                    stock continues to trade below the $16.00 per share Offering
treatment effect.                                                                                                   price
                                                                                                                    Deleted: ¶
          138.      Based on the Exchange Act Defendants’ statements, analysts like RBC Capital Markets             As a result of Defendants’ wrongful acts and omissions, and
                                                                                                                    the precipitous
held onto the hope that increasing the dosage of CB-010 would yield durable responses.                              Deleted: market value of Caribou’s
                                                                                                                    Deleted: , Plaintiff and other Class members have suffered
On December 12, 2022, RBC Capital analysts wrote “[e]arly days and small n, but durability remains on               significant losses and damages.¶
                                                                                                                    PLAINTIFF’S CLASS ACTION ALLEGATIONS¶
par with auto-CART, and we argue the bear thesis that responses are short-lived and driven by high-dose             Plaintiff brings this action as a class action pursuant to
                                                                                                                    Federal Rule of Civil Procedure 23(a) and (b)(3) on behalf of
lymphodepletion is losing traction. Importantly, safety remains clean, with no DLTs at the mid-dose and             a class consisting of all persons and entities other than
                                                                                                                    Defendants that purchased or otherwise acquired: (a)
                                                                                                                    Caribou common stock in the IPO or purchased Caribou
the study now proceeding to the high dose.”                                                                         common stock thereafter in the stock market pursuant and/or
                                                                                                                    traceable to the Company’s Offering Documents issued in
          139.      Finally, on July 13, 2023, Caribou reported “long-term follow-up data from the dose             connection with the IPO; and/or (b) Caribou securities
                                                                                                                    during
escalation portion of the ongoing ANTLER Phase 1 trial,” including that in three subjects given 120 million         Moved down [12]

cells, there was one non responder (Caribou’s first) and two remissions lasting less than three months.             Moved down [13]
                                                                                                                    Moved down [14]
Patients thus continued relapsing despite CB-010 being dosed higher, confirming the Company’s inability
                                                                                                                    Deleted: ; and were damaged thereby (the “Class”).
to demonstrate long-term durability.62 In addition, for the first time, Caribou cautioned against accepting its     Deleted: While the exact number
                                                                                                                    Deleted: Class members is unknown to Plaintiff at this time
Class Period statements comparing its results to its competitors at face value because it “has not performed        and can only be ascertained through appropriate discovery,
                                                                                                                    Plaintiff believes that there are hundreds¶
any head-to-head trials comparing any of these other CAR-T cell therapies with CB-010, and Caribou has              17¶
                                                                                                                    or thousands of members in the proposed Class.
only reviewed publicly available reports of those trials. As such, the results of these other clinical trials may   Deleted: Plaintiffs claims are typical of the claims of...the
                                                                                                                                                                               [108]

                                                     63
                                                                                                                    Deleted: whether statements made by Defendants to ...the[109]
not be comparable to clinical results for CB-010.”
                                                                                                                    Deleted: Individual Defendants caused Caribou to issue
                                                                                                                                                                       ... [110]
                                                                                                                    Moved down [15]
defended-at-svb-after-data-for-cancer-drugcrbu (“6/10/22 SA Article”)                                               Deleted: 18¶

                                                          39                                                        Deleted: members of the Class to individually redress
                                                                                                                                                                        ... the
                                                                                                                                                                            [111]
62
     7/13/23 Press Release.                                                                                         Formatted: Font: 1 pt
63
     7/13/23 Call                                                                                                   Formatted: Normal

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          140. As Plieth of Evaluate Vantage pointed out later that day:64
          With allogeneic Car-T projects struggling to yield lasting responses, six-month durability
          has emerged as something of a minimum for a patient’s remission to hit to be considered
          real. And yesterday Caribou joined Allogene in claiming that around half of lymphoma
          subjects treated with its project can develop responses that are maintained to this time
          point.
          The 50% bar is relevant because it broadly matches what autologous Car-T therapies are
          capable of in this setting, and with the convenience of an off-the- shelf therapy the possible
          advantages are obvious. However, Caribou’s data, from the latest iteration of the Antler
          study of CB-010, make it clear that relapses will continue to be watched closely.
                                                       ***
          More puzzling is the fact that patients continue relapsing in spite of CB-010 being
          dosed higher. Four of the five new responders had been given 80 million cells, but in
          three subjects given 120 million cells there was one non-responder -
          Caribou’s first - and two remissions lasting less than three months.

          141.    On this news, Caribou’s stock price fell $1.84 per share, or 22.6%, on heavy trading to

close at $6.30 per share on July 14, 2023, further damaging investors. Concerns that Caribou would not be

able to demonstrate that the CB-010 treatment was durable even at higher doses thus were confirmed,

despite repeated assurances by Defendants to the contrary. As Seeking Alpha reported that same day, the

Company was “down 23% in Friday trading after announcing following Thursday’s closing bell ... phase 1

data on a non-Hodgkin’s lymphoma CAR-T candidate[,]” and “[o]ne peculiarity in the data, pointed out by

Evaluate Vantage’s Jacob Plieth, was that some patients are still relapsing despite receiving a higher dose.

In three patients given 120M cells -- compared to 80M and 40M in other patients -- there was one non-

responder, with two remissions lasting less than three months.”65
VII.      APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD ON THE
          MARKET DOCTRINE
                                                                                                                   Deleted: ;¶
          142.    During the Class Period, the market for Caribou’s common stock was traded in an efficient        the Omissions and misrepresentations were material;¶
                                                                                                                   Caribou securities are
market for the following reasons, among others:                                                                Formatted: Indent: Left: 0", First line: 0.53", Space
                                                                                                               After: 0 pt, Line spacing: Exactly 23.75 pt, Outline
          (a)     The Company’s common stock met the requirements for listing, and was listed and actively     numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
                                                                                                               Start at: 128 + Alignment: Left + Aligned at: 0" +
                                                                                                               Indent at: 0", Tab stops: 1", Left + Not at 1.01"
64
     7/14/23 EV Article.                                                                                           Deleted: ;
                                                       40
65                                                                                                                 Deleted: shares were liquid and traded with moderate
  Block, Jonathan, Caribou Biosciences down 23% on stock offering, lymphoma data, SEEKING                          to heavy volume during the Class Period;¶
ALPHA (Jul. 14, 2023 2:12PM ET), https://seekingalpha.com/news/3987777-caribou- biosciences-down-                  The Company
23-stock-offering-lymphoma-data (“7/14/23 SA Article”).                                                        Formatted: Font: 1 pt
                                                       41                                                      Formatted: Normal

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                                                                                                                     Deleted: and was covered by multiple analysts;¶
traded on the NASDAQ, a highly efficient electronic stock market;                                                    The misrepresentations and omissions alleged would
                                                                                                                     tend to induce
        (b)      As a regulated issuer, the Company filed periodic public reports with the SEC                       Deleted: reasonable investor to misjudge the value of
                                                                                                                     the Company’s securities; and
        (c)      The Company regularly communicated with public investors via established market
                                                                                                                     Deleted: <#>Plaintiff and members of the Class
                                                                                                                     purchased, acquired and/or sold Caribou securities
communication mechanisms, including regular disseminations of press releases on the national circuits of             between the time the Defendants failed to disclose or
                                                                                                                     misrepresented material facts and the time the true facts
major newswire services and other wide-ranging public disclosures, such as communications with the                   were disclosed, without knowledge of the omitted or
                                                                                                                     misrepresented facts.¶
financial press and other similar reporting services; and                                                            19¶
                                                                                                                     Based on the foregoing, Plaintiff and the members of
        (d)      The Company was followed by securities analysts employed by major brokerage firms who               the Class are entitled to a presumption of reliance upon
                                                                                                                     the integrity of the market.¶
wrote reports that were distributed to the sales force and certain customers of their respective brokerage

firms. Each of these reports was publicly available and entered the public marketplace.

         143.    As a result of the foregoing, the market for Caribou’s common stock promptly digested
                                                                                                                Deleted: Plaintiff
current information concerning the Company from all publicly available sources and reflected such               Deleted: of the Class
                                                                                                                Formatted: Indent: First line: 0.54", Line spacing:
information in the prices of the Company’s stock. Under these circumstances, all purchasers of the              Exactly 24 pt, Outline numbered + Level: 1 +
                                                                                                                Numbering Style: 1, 2, 3, … + Start at: 128 + Alignment:
Company’s common stock during the Class Period suffered similar injury though their purchase of the             Left + Aligned at: 0" + Indent at: 0", Tab stops: 1",
                                                                                                                Left + Not at 1"
Company’s common stock at artificially inflated prices and a presumption of reliance applies.
                                                                                                                Deleted: United States,
         144.    Alternatively, Plaintiffs and the other Class members are entitled to the presumption of       Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
                                                                                                                OLE_NUMBER
reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v. U.S., 406          MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
                                                                                                                MSG_EN_FONT_STYLE_MODIFER_SIZE
U.S. 128, 92 S. Ct. 2430 (1972), as the Exchange Act Defendants omitted material information in their           12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
                                                                                                                Moved down [16]
Class Period statements in violation of a duty to disclose such information, as detailed above.
VIII. APPLICABILITY OF THE STATUTORY SAFE HARBOR AND BESPEAKS                                                   Moved down [17]
      CAUTION DOCTRINE                                                                                          Moved down [18]
                                                                                                                Moved down [19]
         145.    The statutory safe harbor or bespeaks caution doctrine applicable to forwardlooking
                                                                                                                Moved down [20]
statements under certain circumstances does not apply to any of the false and misleading statements pleaded     Deleted: (Violations of Section 11 of the Securities Act
                                                                                                                Against All Defendants)¶
in this Complaint. The statements alleged to be false or misleading herein all relate to then-existing facts    Plaintiff repeats and incorporates each and every allegation
                                                                                                                                                                       ... [113]
                                                                                                                Deleted: As issuer of the shares, Caribou is strictly liable to
and conditions. In addition, to the extent certain of the statements alleged to be false or misleading may be   Plaintiff
                                                                                                                Deleted: 20¶
characterized as forward-looking, they were not adequately identified as forward-looking statements when
                                                                                                                Deleted: person who violated §11 of the Securities Act.¶
                                                                                                                Plaintiff acquired Caribou shares pursuant and/or traceable
                                                                                                                                                                      ... [114]
made, and there were no meaningful cautionary statements identifying important facts that could cause
                                                                                                                Formatted                                              ... [112]
actual results to differ materially from those in the purportedly forward-looking statements.                   Formatted: Default Paragraph Font

         146.    To the extent that the statutory safe harbor does apply to any forward-looking statements      Formatted: Font: 1 pt
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pleaded herein, the Exchange Act Defendants are liable for those false forwardlooking statements because

at the time each of those forward-looking statements was made, each Exchange Act Defendant had actual

knowledge that the particular forward-looking statement                                                        Moved (insertion) [16]: COUNT I¶
                                                                                                               Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
                                                     42
                                                                                                               OLE_LEVEL MSG_EN_FONT_STYLE_NAME_BY_ROLE_HEA
                                                                                                               DING 1
was materially false or misleading. The Exchange Act Defendants are liable for the statements pleaded
                                                                                                               Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
because, at the time each of those statements was made, they each knew the statement was false, and the        OLE_LEVEL MSG_EN_FONT_STYLE_NAME_BY_ROLE_HEA
                                                                                                               DING 1, Centered, Indent: Left: 0.01", Space After: 9 pt,
statement was authorized and/or approved by an executive officer and/or director of Caribou who knew that      Line spacing: Exactly 13.3 pt, Keep with next, Keep
                                                                                                               lines together
such statement was false when made.                                                                            Deleted: II¶
IX.     CAUSES OF ACTION UNDER THE EXCHANGE ACT                                                                Violations of Section 15 of the Securities Act Against the
                                                                                                               Securities Act Individual¶
                                                COUNT I                                                        Defendants¶
                                                                                                               Plaintiff repeats and incorporates each and every allegation
         Violations of § 10(b) and Rule 10b-5 Against All Exchange Act Defendants                              contained above as if fully set forth herein, except any
                                                                                                               allegation of fraud, recklessness or intentional misconduct.¶
                                                                                                               This Count is asserted against the Securities Act Individual
         147.    Plaintiffs repeat and re-alleges each and every allegation contained above as if fully set    Defendants and is based upon Section 15 of the Securities
                                                                                                               Act, 15 U.S.C. § 77o.¶
                                                                                                               The Securities Act Individual Defendants, by virtue of their
forth herein.                                                                                                  offices, directorship, and specific acts were, at the time
                                                                                                                                                                        ... of the
                                                                                                                                                                            [115]
         148.    During the Class Period, the Exchange Act Defendants disseminated or approved the             Deleted: of the Exchange Act
                                                                                                               Deleted: Promulgated Thereunder
materially false and misleading statements specified above, which they knew, or were deliberately reckless
                                                                                                               Moved up [3]
in not knowing, were misleading. These statements were false and misleading because they contained             Deleted: Against the
                                                                                                               Deleted: Plaintiff repeats
misrepresentations and failed to disclose material facts necessary in order to make the statements made, in
                                                                                                               Deleted: <#>This count is asserted against the Exchange
                                                                                                                                                                  ... [116]
light of the circumstances under which they were made, not misleading.                                         Deleted: <#>engaged in a plan, scheme, conspiracy and
                                                                                                                                                                 ... [117]
                                                                                                               Deleted: <#>; and
         149.    Exchange Act Defendants: (1) employed devices, schemes, and artifices to defraud; (2)
                                                                                                               Deleted: in connection with the purchase and sale of... [119]
made untrue statements of material fact/and or omitted to state material facts necessary to make the           Formatted                                                 ... [118]
                                                                                                               Deleted: Pursuant to the above plan, scheme, conspiracy
statements made not misleading; and (3) engaged in acts, practices, and a course of business that operated
                                                                                                               Deleted: course of conduct, each of the Exchange Act
                                                                                                                                                                 ... [120]
as a fraud and deceit upon the purchasers of the Company’s common stock during the Class Period.               Deleted: , or, in the alternative, the Exchange Act       ... [121]
                                                                                                               Deleted:
         150.    Plaintiffs and the Class have suffered damages in that, in reliance on the integrity of the
                                                                                                               Deleted: securities
market, they paid artificially inflated prices for the Company’s common stock. Plaintiffs and the Class        Deleted: /or upon statements disseminated by the Exchange
                                                                                                                                                                  ... [122]
                                                                                                               Deleted: Period, Caribou securities were traded on an... active
                                                                                                                                                                        [123]
would not have purchased the Company’s common stock at the prices they paid— or at all—if they had
                                                                                                               Deleted: or otherwise acquired said securities, or would   not
                                                                                                                                                                    ... [124]
been aware that the market prices had been artificially and falsely inflated by Exchange Act Defendants’       Deleted: by Plaintiff and the other members of the Class.
                                                                                                                                                                  ... [125]
                                                                                                               Deleted: disseminating misrepresented financial statements
                                                                                                                                                                   ... [126]
misleading statements.
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                                                                                                                    Deleted: IV
                                               COUNT II
                                                                                                                    Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
                 Violation of § 20(a) Against the Exchange Act Individual Defendants                                OLE_LEVEL MSG_EN_FONT_STYLE_NAME_BY_ROLE_HEA
                                                                                                                    DING 1
                                                        43
                                                                                                                    Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
          151.     Plaintiffs repeat and reallege each and every allegation contained above as if fully set forth   OLE_LEVEL MSG_EN_FONT_STYLE_NAME_BY_ROLE_HEA
                                                                                                                    DING 1, Centered, Line spacing: Exactly 24 pt
herein.                                                                                                             Deleted: Section
                                                                                                                    Deleted: of The Exchange Act
          152.     During the Class Period, the Exchange Act Individual Defendants participated in the
                                                                                                                    Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
operation and management of Caribou, and conducted and participated, directly and indirectly, in the                OLE_NUMBER
                                                                                                                    MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 4,
conduct of Caribou’s business affairs. Because of their senior positions, they knew the adverse nonpublic           Centered, Space After: 15.9 pt, Line spacing: Exactly
                                                                                                                    13.3 pt, Don't keep with next, Don't keep lines together
information about Caribou’s misstatement of income and expenses and false financial statements.                     Deleted: Defendants¶
                                                                                                                    Plaintiff repeats
          153.     As officers and/or directors of a publicly owned company, the Exchange Act Individual            Deleted: realleges

Defendants had a duty to disseminate accurate and truthful information with respect to Caribou’s financial          Formatted: Line spacing: Exactly 24 pt, Outline
                                                                                                                    numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
condition and results of operations, and to correct promptly any public statements issued by Caribou which          Start at: 128 + Alignment: Left + Aligned at: 0" +
                                                                                                                    Indent at: 0", Tab stops: 1.01", Left + Not at 1.01"
had become materially false or misleading.

          154.     Because of their positions of control and authority as senior officers, the Exchange Act
                                                                                                                    Deleted: ¶
Individual Defendants were able to, and did, control the contents of the various reports, press releases and        25¶

public filings which Caribou disseminated in the marketplace during the Class Period concerning Caribou’s

results of operations. Throughout the Class Period, the Exchange Act Individual Defendants exercised their

power and authority to cause Caribou to engage in the wrongful acts complained of herein. The Exchange
                                                                                                                    Deleted: Section
Act Individual Defendants therefore, were “controlling persons” of Caribou within the meaning of § 20(a).
                                                                                                                    Deleted: ) of the Exchange Act.
In this capacity, they participated in the unlawful conduct alleged which artificially inflated the market price

of Caribou securities.
                                                                                                                    Deleted: of the
          155.     Each Exchange Act Individual Defendants, therefore, acted as a controlling person of
                                                                                                                    Deleted: of the
Caribou. By reason of their senior management positions and/or being directors of Caribou, each Exchange

Act Individual Defendants had the power to direct the actions of, and exercised the same to cause, Caribou
                                                                                                                    Deleted: of the
to engage in the unlawful acts and conduct complained of herein. Each Exchange Act Individual Defendants

exercised control over the general operations of Caribou and possessed the power to control the specific
                                                                                                                    Deleted: Plaintiff
activities which comprise the primary violations about which Plaintiffs and the other members of the Class
                                                                                                                    Formatted: Font: 1 pt
complain.                                                                                                           Formatted: Normal

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                                                        44
                                                                                                                    Deleted: the above
           156.    By reason of such conduct, the Exchange Act Individual Defendants are liable pursuant to

§ 20(a).

X.         PLANTIFFS’ SECURITIES ACT CLAIMS

           157.    The claims alleged in this Section are based on principles of negligence and strict liability.

Only the allegations in ^1-13, 22-23, 26-27, and 32-37, supra, are realleged in this Section pertaining to

the Securities Act claims and only such paragraphs apply to the Securities Act Claims.

           158.    None of the preceding allegations in the Complaint from ^14-21, 24-25, and 28156 that are

set forth in the Class’s claims under §§ 10(b) and 20(a) of the Exchange Act apply to these Securities Act

claims.

           159.    In this Section, Plaintiffs assert a series of strict-liability and negligence claims under §§

11 and 15 of the Securities Act on behalf of all persons or entities who purchased or otherwise acquired

Caribou common stock in or traceable to IPO and pursuant to the Offering Documents.

           160.    Each Defendant is statutorily liable under § 11 of the Securities Act for the materially

inaccurate statements contained in the Offering Documents. Additionally, Plaintiffs assert control person

liability under § 15 of the Securities Act against the Individual Defendants.

           161.    The Securities Act claims are based on the fact that Offering Documents contained untrue

statements of material fact and omitted material facts about Caribou’s business and operations. As described

below, the Securities Act claims against the Securities Act Defendants are premised upon the undisclosed

facts set forth below, and others, which, rendered materially untrue and incomplete the statements contained

in the Offering Documents.

           162.    The Securities Act claims against Defendants are also premised upon their negligent failure

to conduct a reasonable due-diligence investigation into the accuracy and completeness of the

representations contained in the IPO Materials. Had Defendants not acted negligently, and had they

conducted reasonable due-diligence investigations before the IPO, they



                                                        45
would have uncovered that the Registration Statement contained untrue statements of fact and omitted                Formatted: Font: 1 pt
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material facts.

            163.    Plaintiffs’ Securities Act claims are not based on any knowing or deliberately reckless

misconduct on the part of the Defendants. Thus, for purposes of Counts III-IV below, Plaintiffs’ claims do

not sound in fraud, and Plaintiffs expressly disclaim any allegations of fraud or intentional misconduct in

connection with these nonfraud claims, which are pleaded separately in this Complaint from Plaintiffs’

Exchange Act claims.

            A.      Jurisdiction and Venue for Plaintiffs’ Securities Act Claims
            164.    Counts Three and Four arise under §§ 11 and 15 of the Securities Act, 15 U.S.C. §§77k,

771(a)(2) and 77o.

            165.    This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

§1331 and § 22 of the Securities Act because this is a civil action arising under U.S. laws.

            166.    Venue is proper in this Judicial District pursuant to § 22 of the Securities Act and 28 U.S.C.

§ 1391(b)-(d). Specifically, Caribou is headquartered in this Judicial District, Defendants conduct business

in this Judicial District, and a significant portion of Defendants’ activities took place within this Judicial

District.

            167.    In connection with the acts, transactions, and conduct alleged herein, Defendants, directly

or indirectly, used the means and instrumentalities of interstate commerce, including, but not limited to, the

U.S. mail, interstate telephone and other electronic communications, and the facilities of the NASDAQ, a

national securities exchange.

            B.      Additional Securities Act Defendants
                    1. Director Defendants

            168.    Defendant Ryan Fischesser (“Fischesser”) served as Caribou’s Vice President (“VP”) of

Finance and Controller since 2022. Prior to Caribou, he co-founded the accounting firm BHLF LLP where

he provided audit and outsourced accounting services to clients, including in the life sciences industry. He

earned his B.S. degree in Business Administration with an

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emphasis in financial services from Saint Mary’s College of California and is a licensed Certified Public
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                                                                                                                 Moved (insertion) [4]: Fischesser signed or authorized
Accountant. Fischesser signed or authorized the signing of the Registration Statement filed with the SEC.        the signing of the Registration Statement filed with the SEC.¶
                                                                                                                 Defendant Scott Braunstein (“Braunstein”) has served as a
         169.    Defendant Scott Braunstein (“Braunstein”) has served as a Director of Caribou at all            Director of Caribou at all relevant times.
                                                                                                                 Deleted: violations committed
relevant times. He also currently serves as Chairman of the Board and CEO of Marinus Pharmaceuticals, a

company dedicated to the development of innovative therapeutics to treat seizure disorders, and a board

member of Trevena, Inc. Prior to joining Marinus Pharmaceuticals, he served as Chief Strategy Officer and

Chief Operating Officer at Pacira Pharmaceuticals, Inc. In addition, he has held the role of operating partner

at Aisling Capital since 2015 and earlier in his career, Scott served as a healthcare Portfolio Manager at

Everpoint Asset Management and spent 12 years with J.P. Morgan Asset Management as a Healthcare

Analyst and Managing Director on the U.S. equity team and as portfolio manager of the J.P. Morgan Global

Healthcare Fund. He further previously served as a board member of Constellation Pharmaceuticals

(acquired by MorphoSys AG in July 2021), Ziopharm Oncology, Inc., Esperion Therapeutics, Inc., and

Protara Therapeutics, Inc. He received his medical degree from the Albert Einstein College of Medicine

and his B.S. from Cornell University. Braunstein signed or authorized the signing of the Registration

Statement filed with the SEC.
                                                                                                                 Moved (insertion) [5]: Defendant Andrew Guggenhime
         170.    Defendant Andrew Guggenhime (“Guggenhime”) has served as a Director of Caribou at               (“Guggenhime”) has served as a Director of Caribou at all
                                                                                                                 relevant times.
all relevant times. He is also the President and CFO at Vaxcyte, Inc., responsible for leading its finance,

corporate development and strategy, investor relations, corporate communications, human resources, IT,

and facilities functions, and helped to lead its initial public offering in 2020. Prior to joining Vaxcyte,

Guggenhime served as CFO of Dermira, Inc., where he successfully led a series of private, public, and

alternative financings and helped scale the company, including through its transition into a commercial-

stage organization. Previously, Guggenhime served as CFO at Calistoga Pharmaceuticals, Inc., which was

acquired by Gilead Sciences, Inc., and Facet Biotech Corporation, which was acquired by Abbott

Laboratories.



                                                     47
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Earlier in his career, he served as CFO of PDL BioPharma, Inc. until Facet Biotech was spun off from it.         numbering, Tab stops: Not at 1"

Prior to joining Facet Biotech, he served as CFO for Neoforma, Inc., which was acquired by Global
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Healthcare Exchange, LLC. He earned his B.A. in international politics and economics from Middlebury

College and his M.B.A. from the J.L. Kellogg Graduate School of Management at Northwestern University.
                                                                                                              Moved (insertion) [6]: Guggenhime signed or authorized
Guggenhime signed or authorized the signing of the Registration Statement filed with the SEC.                 the signing of the Registration Statement filed with the SEC.¶
                                                                                                              Defendant Jeffrey Long-McGie (“Long-McGie”) served as a
         171.    Defendant Jeffrey Long-McGie (“Long-McGie”) served as a Director of Caribou at the           Director of Caribou at the time of the IPO
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time of the IPO but resigned from its Board as of July 27, 2021, in connection with the closing of the        Exactly 24 pt, Outline numbered + Level: 1 +
                                                                                                              Numbering Style: 1, 2, 3, … + Start at: 156 + Alignment:
offering. He is a managing director of Ridgeback Capital Investments and a board member of Quell              Left + Aligned at: 0" + Indent at: 0", Tab stops: 1",
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Therapeutics. Long-McGie signed or authorized the signing of the Registration Statement filed with the
                                                                                                              Moved (insertion) [7]: Long-McGie signed or authorized
                                                                                                              the signing of the Registration Statement filed with the SEC.¶
SEC.                                                                                                          Defendant Natalie R. Sacks (“Sacks”) has served as a
                                                                                                              Director of Caribou at all relevant times.
         172.    Defendant Natalie R. Sacks (“Sacks”) has served as a Director of Caribou at all relevant

times. Previously, she served in development and executive leadership roles at multiple companies

including at Onyx Pharmaceuticals (acquired by Amgen), Harpoon Therapeutics, Aduro, Exelixis, and Cell

Genesys. She also serves on the board of directors of Zymeworks and STipe Therapeutics. She earned her

B.A. in Mathematics from Bryn Mawr College, her M.S. in Biostatistics from Harvard University School
                                                                                                              Moved (insertion) [8]: Sacks signed or authorized the
of Public Health, and her M.D. from the University of Pennsylvania School of Medicine. Sacks signed or        signing of the Registration Statement filed with the SEC.¶

authorized the signing of the Registration Statement filed with the SEC.

         173.    Defendants Fischerrer, Braunstein, Guggenhime, Long-McGie, and Sacks are collectively

referred to as the “Director Defendants.” The Director Defendants and the Exchange Act Individual

Defendants are collectively referred to as the “Individual Defendants”)

         174.    As directors, executive officers, and/or major shareholders of the Company, the Individual

Defendants participated in the solicitation and sale of Caribou common stock in the IPO for their own
                                                                                                              Moved (insertion) [9]: The Securities Act Individual
benefit and the benefit of Caribou. The Securities Act Individual Defendants were key members of the IPO      Defendants were key members of the IPO working group
                                                                                                              and executives of Caribou who pitched investors
working group and executives of Caribou who pitched investors



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to purchase the shares sold in the IPO.

                 2. Underwriter Defendants

         175.    Defendant Bank of America Securities, Inc. is a financial services company located in New
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York. BofA served as an underwriter for the IPO, helping to draft and disseminate the Registration            Formatted: Normal

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Statement and to solicit investors to purchase Caribou common stock pursuant thereto.

         176.    Defendant Citigroup Global Markets, Inc. is a financial services company located in New

York. Citigroup served as an underwriter for the IPO, helping to draft and disseminate the Registration

Statement and to solicit investors to purchase Caribou common stock pursuant thereto.

         177.    Defendant SVB Securities LLC, which changed its name from SVB Leerink LLC on

February 1, 2022, is a financial services company located in New York. SVB served as an underwriter for

the IPO, helping to draft and disseminate the Registration Statement and to solicit investors to purchase

Caribou common stock pursuant thereto.

         178.    The Individual Defendants, the Underwriter Defendants and Caribou are sometimes

collectively, in whole or in part, referred to herein as “Defendants.”

         179.    The Underwriter Defendants agreed to purchase and sell shares of Caribou common stock

to the public as follows: BofA - 6,935,000 shares; Citigroup - 6,365,000 shares; SVB - 5,700,000 shares.

         180.    The Underwriter Defendants collectively received over $24.4 million in underwriting fees

and discounts for underwriting the IPO.

         C.      Securities Act Defendants’ Violations of the Securities Act
                 1. Caribou’s Blockbuster IPO

         181.    In connection with its IPO, Caribou filed the Registration Statement on Form S- 1 with the

SEC on July 1, 2021. Caribou subsequently amended the Registration Statement twice and requested that

the SEC declare it effective on an accelerated basis. Consistent with its



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standard practice, the SEC acceded to this request and on July 22, 2021, the Registration Statement went

into effect.

           182.    As a result, on July 23, 2021, pursuant to the Registration Statement, Caribou’s common

stock began publicly trading on the NASDAQ. That same day, Caribou filed the Prospectus on Form 424B4

with the SEC in connection with the IPO, which incorporated and formed part of the Registration Statement.

           183.    Pursuant to the Offering Documents, Caribou issued 19 million shares of common stock to

the public at the Offering price of $16.00 per share for proceeds of $282.72 million to the Company, before

expenses, and after applicable underwriting discounts. The IPO thus valued Caribou at a whopping $907.3

million.

           184.    The Offering Documents touted CB-010 as the “first clinical-stage allogeneic anti-CD19

CAR-T cell therapy” and represented that Caribou “ha[s] demonstrated in preclinical models that the PD-

1 knockout [effect of CB-010] improves the persistence of antitumor activity,” and from those models,

provided mice tumor activity up to day 108 and survival data up to day 160 or 5.3 months:
                                                                                      D108

                    PBS
       (negative control)
       conventional alio
          CD19 CAR-T
         (PD-1 positive)

           CB-010 (PD-1
               negative)

                                          Overall Survival Analysis
                                               DaU to 16# <*ay*




                                                                  CAR-T



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        185.    The Offering Documents further represented that “by day 108 following dosing, half the

mice treated with the conventional allogeneic CD19 CAR-T cell therapy had expired from their recurrent

tumor burden, and the surviving mice in that cohort had metastatic disease. In contrast, by day 108 following

dosing, all of the CB-010-treated mice were alive and roughly half had no detectable tumor burden . . . all

of the mice treated with the conventional allogeneic CD19 CAR-T cells had succumbed to their tumors by

approximately day 135, while all but one of the CB-010 treated mice were still alive by day 160.”

        186.    With respect to the purported durability of CB-010’s treatment effect, the Offering

Documents specifically stated, in relevant part, that “preclinical in vivo data from experiments conducted

in mouse xenograft models submitted as part of our CB-010 IND [Application] demonstrate that knocking

out PD-1 leads to a significant increase in the durability of antitumor activity and therefore overall mouse

survival.”

        187.    And with respect to the purported efficacy of CB-010’s treatment, the Offering Documents

touted that “We use our chRDNA technology to enhance, or armor, our cell therapies by creating

additional genomic edits to improve persistence of antitumor activity.”

        188.    The Registration Statement also disclosed as a “risk factor” the names of

Caribou’s competitors. While maintaining that its technology was superior, it disclosed the

names of other companies developing CRISPR-based technologies:
       Compared to first generation genome-editing approaches, our chRDNA platform has shown
       improved specificity, a reduction in off-target edits and translocations and advanced
       capability to perform multiplexed edits, in particular multiplexed insertions. While we
       believe that our scientific expertise, novel technology, and intellectual property position
       offer competitive advantages, we face competition from multiple other genome-editing
       technologies and companies. Other companies developing CRISPR-based technologies
       include, among others, Beam Therapeutics Inc., CRISPR Therapeutics AG, Editas
       Medicine, Inc., Intellia Therapeutics, Inc., Metagenomi Technologies, LLC, Poseida
       Therapeutics, Inc., and Scribe Therapeutics, Inc. Companies developing other genome-
       editing technologies include, among others, Allogene Therapeutics, Inc., bluebird bio, Inc.,
       Cellectis S.A., Precision BioSciences, Inc., and Sangamo Therapeutics, Inc.
        We believe that our CAR-T cell therapy product candidates have the potential to
        offer a superior product to patients due to genome edits we make to improve their

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        persistence with the goal of extending robust CAR-T cell antitumor activity in
        patients.                                                                                               Formatted: Font: 1 pt
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           189.    Analysts focused on the Offering Documents’ statements about the Company’s

“demonstration] in preclinical models”66 and “reference] to its process as ‘armoring’ the cells”67 in

promoting the IPO.

           190.    Further, the Registration Statement noted that the Company’s in vitro studies showed that

“CB-010 cells demonstrate dose-dependent and robust cytotoxic activity at a range of effector-to-target

ratios compared to negative control cells.” Accordingly, investors understood that CB-010’s treatment

effect would be more durable as doses were escalated.

                                2. Unbeknownst to Investors, Caribou’s Competitors Had Already Achieved
                           Results Comparable to Early Autologous Car-T Trials.

           191.    According to the Offering Documents, the Company’s preclinical data showed statistically

significant improvement in survival of mice that received CB-010 treatment compared to control groups

that did not. The preclinical study involved engrafting mice with acute leukemia, waiting 23 days before

commencing treatment, and then testing the mice in three separate treatment groups as follows: (1) a control

saline; (2) conventional allogeneic CD19 CAR-T cells, i.e. T cells with the anti-CD19 CAR used in CB-

010 inserted into the TRAC locus, but without the PD-1 knockout, or (3) CB-010.

           192.    Although preclinical studies on mice are common, scientists have noted that they are

limited in their ability to mimic the extremely complex process of human carcinogenesis, physiology, and

progression.68

           193.    On September 8, 2020, Caribou announced that the FDA had cleared the Company’s IND

Application for CB-010, which had included its preclinical mice study in its data package. The Company

further announced that it would begin clinical trials of CB-010.

           194.    On October 21, 2020, a Caribou competitor also focusing on allogeneic cell therapy,

CRISPR Therapeutics AG (“CRISPR”) released top-line results from its ongoing Phase 1 CARBON trial

of CTX110, an allogeneic CAR-T cell therapy targeting CD19+ B-cell malignancies. The results showed



66
     See 7/22/21 SA Article.
67
     See 7/27/21 Motley Article.
68
     See 7/10/23 Eureka Article.                                                                               Formatted: Font: 1 pt
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CR rates of 33%, 50%, and 100% at dose levels 2, 3, and 4, respectively, at three months. These results

“show[ed] dose dependent efficacy and response rates that are comparable to the early autologous CAR-T

trials.”69

             195.    On June 4, 2021, Allogene released updated data for its allogeneic gene-editing treatment

for non-Hodgkin lymphoma, which showed a six-month CR rate of 36% in CAR T naive LBCL patients

treated with ALLO-501 and a “CR rate of 50% across [LBCL and follicular lymphoma] histologies in CAR

T naive patients on par with autologous CAR T therapies.”70
                 3.      Unbeknownst to Investors, CB-010’s Treatment Effect Was Not as
                         Durable or Dose-Dependent as Caribou’s Preclinical Data Purportedly
                         Indicated.
             196.    The Securities Act Defendants negligently misled investors regarding the durability

assumptions for CB-010 which were based on Caribou’s preclinical data.

             197.    At the time of the IPO, the Securities Act Defendants negligently did not disclose what the

Company’s mice data showed regarding overall tumor burden or cancer progression after Day 108 and

survivability of the mice after day 160 or failed to continue to study mice data past 5.3 months. Yet the

Securities Act Defendants assured investors that Caribou’s preclinical data signaled durability.

             198.    In addition, two months prior to the IPO, a Phase 1 clinical trial sponsored by Gracell

concluded. Gracell is a Chinese company publicly traded on the NASDAQ which has “a rich clinical-stage

pipeline of multiple autologous and allogeneic product candidates with the potential to overcome major

industry challenges that persist with conventional CAR-T therapies, including lengthy manufacturing time,

suboptimal production quality, high therapy cost and lack of effective CAR-T therapies for solid tumors.”65

             199.    Like Caribou’s CB-010 - which purportedly was the first ever allogeneic CAR-T therapy

that knocked out PD-1 - the Gracell clinical trial tested a treatment that knocked out PD- 1 in relapsed cancer

patients (“Gracell Trial”). The Securities Act Defendants omitted to disclose the Gracell Trial or negligently

69
    See 10/21/20 Article (“Joseph McGuirk, professor of Medicine and division director of Hematologic
Malignancies and Cellular Therapeutics at the University of Kansas Medical Center and investigator in the
Phase I CARBON trial, noted, ‘From this early data read-out, CTX110 has shown dose-dependent efficacy
and response rates that are comparable to the early autologous CAR-T trials. Furthermore, CTX110 had an
acceptable safety profile, which could make CARTs more widely accessible.’”).
70
   6/4/21 Allogene News.                                                                                           Formatted: Font: 1 pt
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failed to learn of it, given the similarity between the two treatments and the Company’s focus on its

competitors.

           200.    The Gracell Trial only generated a response in 2 out of 15 patients. As the researchers

explained, the “poor clinical response implies that CAR-T cell-intrinsic modification alone, for example,

knocking out PD-1 in CAR-T cells, may not be enough to induce promising outcomes in the

treatment of patients.”66 The Securities Act Defendants did not disclose the results of or the existence of
the Gracell Trial in the Offering Documents.
             4. As Information Incorrectly Stated in, and Omitted from, the Registration
                 Statement Is Gradually Disclosed, the True Value of Caribou Common Stock Is
                 Revealed.
           201.    On June 10, 2022, during pre-market hours, Caribou issued a press release reporting

“Positive Additional Data from CB-010 Allogeneic CAR-T Cell Therapy Phase 1 ANTLER Trial at the

[EHA] 2022 Hybrid Congress.”67 Among other results, that press release reported that “[a]t 6 months

following the single dose of CB-010, 40% of patients remained in CR (2 of 5 patients) as of the

May 13, 2022 data cutoff date.”
           202.    And Jacob Plieth of Evaluate Vantage pointed out later that day:68 Caribou has
           hailed its Crispr-edited CD19-targeting lead project, CB-010, as the 71 72 73 74
           first ever off-the-shelf Car-T to show a 100% complete response rate.
           Unfortunately, this does not tell the whole story: as the group’s EHA poster
           revealed today, few of the remissions are durable.
           Caribou thus appears to be the latest allogeneic Car-T player to run into the
           problem of relapse, after this issue last year derailed Allogene, Crispr
           Therapeutics and Precision Biosciences.
                                                  ***
           [B]y six months three of the six patients relapsed with progressive disease. Two of the three
           remaining CRs were ongoing beyond six months, and Caribou added that the first patient
           treated remained in CR at their 12-month scan, after the abstract’s cutoff date. All six
           subjects received the first dose level of 40 million cells, but it will not go unnoticed that
           the most durable CR is in follicular lymphoma, a relatively slow-growing disease.



71
     Gracell Biotechnologies Inc., Corporate Profile, https://ir.gracellbio.com/.
72
     2021 Wang Study.
73
     June 2022 Press Release.
74
     6/10/22 EV Article.                                                                                      Formatted: Font: 1 pt
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          203.    This observed tapering-off of CR after treatment with CB-010 understandably prompted

investor concern over Caribou’s ability to demonstrate the durability of the CB-010 treatment. For example,

also on June 10, 2022, online investor news resource Seeking Alpha reported that “Caribou [was] in selloff

after [the] data for cancer candidate [CB-010]” because “only two patients . . . remained on CR as of the

May [13, 2022] data cutoff.”75 Similarly, a Bloomberg Intelligence analyst wrote that CB-010 “showed

lower-than-desired durability, with a [CR] in two out of five patients at six months[;]” and an SVB Securities

analyst wrote that the update “has bears [i.e., pessimistic investors] arguing questions of durability of CR’s

among patients with the most aggressive disease[.]”

          204.    On this news, Caribou’s stock price fell $3.62 per share, or 41.51%, to close at $5.10 per

share on June 13, 2022 on heavy trading volume, damaging investors.

          205.    Then, on July 13, 2023, Caribou reported “long-term follow-up data from the dose

escalation portion of the ongoing ANTLER Phase 1 trial,” including that in three subjects given 120 million

cells, there was one non responder (Caribou’s first) and two remissions lasting less than three months.

Patients thus continued relapsing despite CB-010 being dosed higher, confirming the Company’s inability

to demonstrate long-term durability.
       206. As Plieth of Evaluate Vantage pointed out later that day:76
          With allogeneic Car-T projects struggling to yield lasting responses, six-month durability
          has emerged as something of a minimum for a patient’s remission to hit to be considered
          real. And yesterday Caribou joined Allogene in claiming that around half of lymphoma
          subjects treated with its project can develop responses that are maintained to this time point.
          The 50% bar is relevant because it broadly matches what autologous Car-T therapies are
          capable of in this setting, and with the convenience of an off-the- shelf therapy the possible
          advantages are obvious. However, Caribou’s data, from the latest iteration of the Antler
          study of CB-010, make it clear that relapses will continue to be watched closely.
                                                      ***
          More puzzling is the fact that patients continue relapsing in spite of CB-010 being
          dosed higher. Four of the five new responders had been given 80 million cells, but in three
          subjects given 120 million cells there was one non-responder - Caribou’s first - and two
          remissions lasting less than three months.
          207.    On this news, Caribou’s stock price fell $1.84 per share, or 22.6%, on heavy trading to


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     6/10/22 SA Article.
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76
     7/14/23 EV Article.                                                                                         Formatted: Normal

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close at $6.30 per share on July 14, 2023, further damaging investors. Concerns that Caribou would not be

able to demonstrate that the CB-010 treatment was durable even at higher doses thus were confirmed. As

Seeking Alpha reported that same day, the Company was “down 23% in Friday trading after announcing
following Thursday’s closing bell ... phase 1 data on a non-Hodgkin’s lymphoma CAR-T candidate[,]” and

“[o]ne peculiarity in the data, pointed out by Evaluate Vantage’s Jacob Plieth, was that some patients are

still relapsing despite receiving a higher dose. In three patients given 120M cells -- compared to 80M and

40M in other patients -- there was one non-responder, with two remissions lasting less than three months.”77

                  5.       The Registration Statement Contained Untrue Statements of Material
                                 Fact and Material Omissions in Violation of § 11 of the Securities Act

          208.    The Registration Statement contained untrue statements of material fact and omitted to

state other facts necessary to make the statements not misleading under the circumstances under which they

were made.
       209.       In touting CB-010’s PD-1 knockout effect and the treatment’s attendant clinical

prospects, the Registration Statement stated, inter alia:

          We use Cas9 chRDNA guides to make three edits to manufacture CB-010. We introduce,
          with high efficiency and specificity, the gene encoding the CD19- specific CAR into the
          gene encoding the T cell receptor alpha constant, or TRAC, a component of the native T
          cell receptor, or TCR. This simultaneously integrates the CD19 CAR site-specifically into
          the T cell genome and eliminates TCR expression to reduce the risk of graft versus host
          disease, or GvHD. We also knock out the gene encoding the PD-1 protein in these
          cells to boost the persistence of CAR-T cell antitumor activity. We believe that the
          PD-1 knockout has the potential to reduce the likelihood of rapid tumor recurrence
          and potentially confer a better therapeutic index compared to other allogeneic
          CAR-T cells. To our knowledge, CB-010 is the first allogeneic CAR-T cell therapy
          with a PD-1 knockout in clinical studies and it is being evaluated in our open-label,
          multicenter ANTLER phase 1 clinical trial in the United States in adults with relapsed or
          refractory B cell non-Hodgkin lymphoma (NCT04637763). We have dosed the first patient
          in this clinical trial.

          210.    The statements in ^209, supra, in bold and italics were false and materially misleading

and/or omitted to state material facts necessary to make them not misleading when made because the

Securities Act Defendants failed to disclose: (i) the existence of the Gracell Trial, which meant that Caribou



77
     7/14/23 SA Article.                                                                                         Formatted: Font: 1 pt
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was not the first to use the PD-1 knockout in an allogeneic CART cell treatment; and (ii) that the Gracell

Trial had already demonstrated that knocking out the PD-1 protein was not linked to enhanced durability or

clinical performance, calling into question the purportedly unique advantage of CB-010 as a treatment.

        211.    In the Registration Statement, the Securities Act Defendants also touted PD-1

knockout as a solution to the problem that allogeneic treatments have had with persistence, due

to the human immune system attacking the foreign donor cells:
         Our first lead product candidate, CB-010, is, to our knowledge, the first clinical- stage
         allogeneic anti-CD19 CAR-T cell therapy with PD-1 removed from the CAR-T cell
         surface by a genome-edited knockout of the PDCD1 gene. We have demonstrated in
        preclinical models that the PD-1 knockout improves the persistence of antitumor
        activity by disrupting a pathway that leads to rapid T cell exhaustion. We have dosed
        the first patient in our ANTLER phase 1 clinical trial for CB-010, a study in patients with
        relapsed or refractory B cell non-Hodgkin lymphoma, with initial data expected in 2022.


                                                    57
        212.    The statement identified in ^211, supra, in bold and italics was false and materially

misleading and/or omitted to state material facts necessary to make it not misleading when made because

Caribou then lacked the clinical data to show that the PD-1 knockout would improve allogeneic durability

given that the pre-clinical data in the Registration Statement did not go past 5.3 months and given that 6

months is the minimum threshold for durability.

        213.    In the Registration Statement, the Securities Act Defendants claimed Caribou had a

competitive edge over other companies developing allogeneic therapies:
        The genome-editing technologies currently used in the allogeneic cell therapy field
        generally have limited efficiency, specificity, and versatility for performing the
        multiple, precise genomic edits necessary to address insufficient persistence.
        Our chRDNA technology is designed to address these genome-editing limitations
        and improve cell therapy activity. By applying this approach to allogeneic cell
        therapies, we believe we can unlock their full potential by improving upon their
        effectiveness and durability.

        214.    The statements in ^213, supra, in bold and italics were false and materially misleading

and/or omitted to state material facts necessary to make them not misleading when made because the

Exchange Act Defendants failed to disclose that Caribou’s competitors in the allogeneic gene-editing space,

including Allogene and CRISPR, had already published data that showed comparable or better durability         Formatted: Font: 1 pt
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data than approved autologous therapies, and Caribou lacked data to show that its technology was superior.

         215.    In the Registration Statement, the Securities Act Defendants also touted Caribou’s

preclinical data from a study performed in mice, presenting data for 160 days of study in which

days in which mice were given either a control injection, conventional allogeneic CD19 CAR-T

cells without PD-1 knockout, or CB-010 with the PD-1 knockout. The Registration Statement

stated the following with respect to CB-010’s clinical prospects based on the mice study:
         In our preclinical studies, we demonstrated that the removal of the PD-1 checkpoint from
         the CB-010 CAR-T cells provided a statistically significant survival advantage in mice
         bearing robust and metastatic B cell tumors.
                                                    ***
         Overall, our data demonstrate that the removal of the PD-1 checkpoint from the

                                                      58
        CB-010 CAR-T cells provided a statistically significant survival advantage in mice
        bearing robust and metastatic B cell tumors. Our data suggest that the PD- 1
        knockout may have led to a more robust debulking of the tumor by CB-010 during
        the early part of the study compared to the conventional allogeneic CD19 CAR-T
        cells, leading to a reduction in the recurrence of the tumor cells. Based on these data,
        we believe CB-010 has the potential for a better therapeutic index compared to other
        allogeneic CAR-T cells. If a lower dose of CB-010 has meaningful activity in the clinical
        setting, it would lead to several potential advantages including limited toxicity, increased
        numbers of doses per manufacturing run, and a reduced cost of goods.

        216.     The statements in ^215, supra, in bold and italics were false and materially misleading

and/or omitted to state material facts necessary to make them not misleading when made because the

Securities Act Defendants omitted to disclose: (i) the existence of the Gracell Trial and the uncertainty about

the clinical benefits of removing PD-1 checkpoints, as the Gracell Trial already demonstrated; and (ii) given

that 6 months is the minimum threshold for durability, relying on 5.3 months of mice data would not be an

indication of CB-010’s durability in the ANTLER trial.

        217.     With specific respect to the purported durability of CB-010’s treatment effect, as

afforded by the PD-1 knockout strategy, the Registration Statement stated, in relevant part:
        One of the approaches we deploy to increase the persistence of CAR-T cell antitumor
        activity is to remove PD-1 from the CAR-T cell surface . . . . We believe that knocking out
        PD-1 will maintain the CAR-T cells in a higher antitumor state for a longer period of time,
        and we believe this will result in greater initial tumor debulking in the patient which will
        lead to long-term durability of CAR-T cell antitumor activity .... [O]ur preclinical in vivo
        data from experiments conducted in mouse xenograft models submitted as part of                            Formatted: Font: 1 pt
        our CB-010IND [Investigational New Drug Application] demonstrate that knocking                            Formatted: Normal

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        out PD-1 leads to a significant increase in the durability of antitumor activity and
        therefore overall mouse survival. To our knowledge, our lead product candidate [CB-
        010] is the first allogeneic CAR-T cell therapy in a clinical study with a PD-1 knockout, and
        we believe will drive the durability of allogeneic CAR-T cell antitumor activity.
    218.        The statement in ^217, supra, in bold and italics was false and materially misleading and/or

omitted to state material facts necessary to make it not misleading when made for the reasons set forth in

^212, supra.
                 6.      The Registration Statement Failed to Disclose Information Required to Be
                         Disclosed Under SEC Regulation S-K

                                                    59
        219.    SEC Regulation S-K required the Securities Act Defendants to describe in the Registration

Statement, “any known trends or uncertainties that have had or that the registrant reasonably expects will

have a material impact ... on net sales or revenues or income from continuing operations.” 17 C.F.R. §

229.303(a)(3)(ii) (“Item 303”) (2017). “Disclosure is mandatory where there is a known trend or uncertainty

that is reasonably likely to have a material effect on the registrant’s financial condition or results of

operations.” SEC Release Nos. 33-8056; 34-45321; FR-61.

        220.    The SEC has emphasized that Item 303’s disclosure requirements are “intended to give the

investor an opportunity to look at the company through the eyes of management by providing both a short

and long-term analysis of the business of the company” and “a historical and prospective analysis of the

registrant’s financial condition ... with particular emphasis on the registrant’s prospects for the future.”

S.E.C. Release No. 6835, 1989 WL 1092885, at *3, *17. Thus, “material forward-looking information

regarding known material trends and uncertainties is required to be disclosed as part of the required

discussion of those matters and the analysis of their effects.” See Comm’n Guidance Regarding Mgmt.’s

Discussion and Analysis of Fin. Condition and Results of Operations, S.E.C. Release No. 8350, 2003 WL

22996757, at *11 (December 19, 2003).

        221.    Item 303 affirmatively required the Securities Act Defendants to disclose the trends and

uncertainties related to Caribou with a high degree of specificity to comply with Regulation S-K’s rigorous

disclosure requirements. Yet the Securities Act Defendants omitted to disclose in the Registration Statement

that at least two competitors had already demonstrated that their allogeneic CAR-T cell therapy had dose-

dependent efficacy and response rates comparable to the early autologous CAR-T trials, so Caribou was not      Formatted: Font: 1 pt
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the first. And the Securities Act Defendants also concealed that a Phase 1 clinical trial in which PD-1 was

knocked out in relapsed cancer patients had previously only generated a response in 2 out of 15 patients,

leading the researchers leading that trial to conclude “that CAR-T cell-intrinsic modification alone, for



                                                     60
example, knocking out PD-1 in CAR-T cells, may not be enough to induce promising outcomes in the

treatment of patients.” Accordingly, it was misleading for Caribou to present its preclinical data as having

“demonstrated” the durability of its allogeneic treatment effect any more or better than its competitors

preclinical data had, and thus it had just as high or even higher risk of not receiving FDA approval. The

Securities Act Defendants’ omissions thus concealed from investors an uncertainty about the commercial

viability of the Company’s CB-010 therapy, and of the Company itself because its therapies all hinged on

the same technology.

        222.    The Securities Act Defendants’ lack of disclosures also violated their affirmative disclosure

duties imposed by Regulation S-K Item 105, which required them to include in the Registration Statement

a “discussion of the most significant factors that make the offering speculative or risky.” 17 C.F.R. §

229.503(c) (2011). Item 105’s purpose is “to provide investors with a clear and concise summary of the

material risks to an investment in the issuer’s securities.” Sec. Offering Reform, S.E.C. Release No. 8501,

2004 WL 2610458, at *86 (Nov. 3, 2004). The discussion of risk factors must be specific to the particular

company and its operations, and must explain how the risk affects the company and/or the securities being

offered. Generic or boilerplate attempts to disclose potential risks and shield oneself from liability do not

tell investors how the specific risks could affect their investment. See Statement of the Comm’n Regarding

Disclosure of Year 2000 Issues and Consequences by Pub. Cos., Inv. Advisers, Inv. Cos., & Mun. Sec.

Issuers, 1998 WL 425894, at *14 (July 29, 1998).

        223.    Item 105 required the Securities Act Defendants to disclose the most significant risks that

could adversely affect Caribou’s present or future business expectations and not just reiterate boilerplate,

generic risks that could apply to virtually any other drug development or biopharmaceutical company.

        224.    The risk that CB-010 therapy would not prove durable in humans, given that knocking out
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the PD-1 in CAR-T cells had already shown to not be a promising outcome when used to treat human
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patients, was already likely to occur, and was likely to adversely affect the



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Caribou’s present or future business expectations, and, in fact, did have a negative impact on its business

prospects, yet the Securities Act Defendants failed to disclose these specific risks in the Registration

Statement.

        D.       Additional Facts Probative of Underwriter Defendants’ Liability

        225.     In addition, the Underwriter Defendants are liable for the false and misleading

statements in the Registration Statement under the Securities Act because of the following:

        (a)      The Underwriter Defendants are investment banking houses that specialize in, among other

        things, underwriting public offerings of securities. They served as the underwriters of the IPO and

        shared substantial fees from the IPO collectively.

        (b)      The Underwriter Defendants also obtained an agreement from Caribou that it would

        indemnify and hold the Underwriter Defendants harmless from any liability under the federal

        securities laws.

        (c)      Representatives of the Underwriter Defendants also assisted Caribou and its management

        and directors in planning the IPO, and purportedly conducted an adequate and reasonable

        investigation into the business and operations of the Company, an undertaking known as a “due

        diligence” investigation. The Underwriters had to conduct such due diligence to engage in the IPO.

        During the course of such investigation, the Underwriter Defendants had continual access to

        internal, confidential, and current corporate information concerning Caribou’s most up-to-date

        operational and financial results and prospects.

        (d)      In addition to availing themselves of virtually unlimited access to internal corporate

        documents, agents of the Underwriter Defendants met with Caribou’s lawyers, management, and

        top executives and engaged in drafting sessions. During these sessions, Caribou and the

        Underwriter Defendants reached an understanding on: (i) the strategy to best accomplish the IPO;

        (ii) the terms of the IPO, including the price at which Caribou’s securities would be sold; (iii) the
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        language to be used in the Registration Statement; (iv)



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        what disclosures about Caribou would be made in the Registration Statement; and (v) what

        responses would be made to the SEC in connection with its review of the Registration Statement.

        As a result of those constant contacts and communications between the Underwriter Defendants’

        representatives and Caribou’s management and top executives, the Underwriter Defendants in the

        exercise of reasonable care should have known of Caribou’s existing problems as detailed herein.

        226.     The Underwriter Defendants caused the Registration Statement to be filed with the SEC

and declared effective in connection with the offers and sales of securities registered thereby, including

those to Plaintiffs and other members of the Class.

        E.       Causes of Action Under the Securities Act

                                             COUNT III
                  Violations of § 11 of the Securities Act Against All Defendants

        227.     Plaintiffs repeat and incorporate every allegation contained above as if fully set forth

herein, except any allegation of fraud, recklessness, or intentional misconduct.
                                                                                                               Moved (insertion) [17]: 11 of the Securities Act, 15
        228.     This Count is brought pursuant to § 11 of the Securities Act, 15 U.S.C. § 77k, on behalf of   U.S.C. § 77k, on behalf of the Class, against Defendants.¶
                                                                                                               The Offering Documents for the IPO were inaccurate and
the Class, against Defendants.                                                                                 misleading, contained untrue statements of material facts,
                                                                                                               omitted to state other facts necessary to make the statements
                                                                                                               made not misleading, and omitted to state material facts
        229.     The Offering Documents for the IPO were inaccurate and misleading, contained untrue           required to be stated therein.¶
                                                                                                               Caribou is the registrant for the IPO. Defendants named
statements of material facts, omitted to state other facts necessary to make the statements made not           herein were responsible for the contents and dissemination of
                                                                                                               the Offering Documents.¶
misleading, and omitted to state material facts required to be stated therein.
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                                                                                                               numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
        230.     Caribou is the registrant for the IPO. Defendants named herein were responsible for the
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contents and dissemination of the Offering Documents.
                                                                                                               Moved (insertion) [18]: and the Class for the
        231.     As issuer of the shares, Caribou is strictly liable to Plaintiffs and the Class for the       misstatements and omissions in the Offering Documents.¶
                                                                                                               None of the Defendants named herein made a reasonable
misstatements and omissions in the Offering Documents.                                                         investigation or possessed reasonable grounds for the belief
                                                                                                               that the statements contained in the Registration Statement
                                                                                                               were true and without omissions of any material facts and
        232.     None of the Defendants named herein made a reasonable investigation or possessed              were not misleading.¶

reasonable grounds for the belief that the statements contained in the Registration Statement were true and
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without omissions of any material facts and were not misleading.                                               Formatted: Normal

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                                                                                                                  Moved (insertion) [19]: By reason of the conduct herein
           233.    By reason of the conduct herein alleged, each Defendant violated or controlled a               alleged, each Defendant violated or controlled a

                                                       63

person who violated § 11 of the Securities Act.

           234.    Plaintiffs acquired Caribou shares pursuant and/or traceable to the Offering Documents for

the IPO.
                                                                                                                  Moved (insertion) [20]: and the Class have sustained
           235.    Plaintiffs and the Class have sustained damages. The value of Caribou securities has           damages. The value of Caribou securities has declined
                                                                                                                  substantially subsequent to and because of Defendants’
declined substantially subsequent to and because of Defendants’ violations.                                       violations.¶
                                                                                                                  COUNT

                                              COUNT IV                                                            Formatted: Space After: 12.55 pt, Line spacing:
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                         Violations of § 15 Against the Individual Defendants                                     Numbering Style: 1, 2, 3, … + Start at: 222 + Alignment:
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           236.    Plaintiffs repeat and incorporate each and every allegation contained above as if fully set
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forth herein, except any allegation of fraud, recklessness or intentional misconduct.
                                                                                                                  DING 1
           237.    This Count is asserted against the Individual Defendants and is based upon § 15 of the

Securities Act, 15 U.S.C. § 77o.

           238.    The Individual Defendants, by virtue of their offices, directorship, and specific acts were,

at the time of the wrongs alleged herein and as set forth herein, controlling persons of Caribou within the

meaning of § 15 of the Securities Act. The Individual Defendants had the power and influence and exercised

the same to cause Caribou to engage in the acts described herein.

           239.    The Individual Defendants’ positions made them privy to and provided them with actual

knowledge of the facts concealed from Plaintiffs and the Class.

           240.    By virtue of the conduct alleged herein, the Individual Defendants are liable for the

aforesaid wrongful conduct and are liable to Plaintiffs and the Class for damages suffered.

XI.     CLASS ACTION ALLEGATIONS APPLICABLE TO ALL CLAIMS
           241.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil Procedure

(“Rule”) 23(a) and (b)(3) on behalf of a Class consisting of all persons and entities other than Defendants

that purchased or otherwise acquired: (a) Caribou common stock in the IPO or purchased Caribou common

stock thereafter in the stock market pursuant and/or traceable to the Company’s Offering Documents issued

in connection with the IPO; and/or (b) Caribou
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                  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS OF
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                                                                                                               Moved (insertion) [12]: Excluded from the Class are
securities during the Class Period; and were damaged thereby. Excluded from the Class are Defendants, the      Defendants, the officers and directors of the Company, at all
                                                                                                               relevant times, members of their immediate families and
officers and directors of the Company, at all relevant times, members of their immediate families and their    their legal representatives, heirs, successors, or assigns, and
                                                                                                               any entity in which Defendants have or had a controlling
                                                                                                               interest.¶
legal representatives, heirs, successors, or assigns, and any entity in which Defendants have or had a
                                                                                                               The members of the Class are so numerous that joinder of all
                                                                                                               members is impracticable. Throughout the Class Period,
controlling interest.                                                                                          Caribou securities were actively traded on the NASDAQ.

         242.    The members of the Class are so numerous that joinder of all members is impracticable.        Formatted: Line spacing: Exactly 24 pt, No bullets or
                                                                                                               numbering, Tab stops: Not at 1"
Throughout the Class Period, Caribou securities were actively traded on the NASDAQ. While the exact            Formatted: Indent: First line: 0.53", Line spacing:
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number of Class members is unknown to Plaintiffs at this time and can only be ascertained through              Numbering Style: 1, 2, 3, … + Start at: 222 + Alignment:
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appropriate discovery, Plaintiffs believe that there are hundreds or thousands of members in the proposed      Left
                                                                                                               Moved (insertion) [13]: Record owners and other
Class. Record owners and other members of the Class may be identified from records maintained by the           members of the Class may be identified from records
                                                                                                               maintained by the Company or its transfer agent and may be
Company or its transfer agent and may be notified of the pendency of this action by mail, using the form of    notified of the pendency of this action by mail, using the
                                                                                                               form of notice similar to that customarily used in securities
notice similar to that customarily used in securities class actions.                                           class actions.¶


         243.    Plaintiffs’ claims are typical of the claims of the members of the Class, as all members of

the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that is

complained of herein.

         244.    Plaintiffs will fairly and adequately protect the interests of the members of the Class and

have retained counsel competent and experienced in class and securities litigation.
                                                                                                               Moved (insertion) [14]: Common questions of law and
         245.    Common questions of law and fact exist as to all members of the Class and predominate         fact exist as to all members of the Class and predominate
                                                                                                               over any questions solely affecting individual members of
over any questions solely affecting individual members of the Class. Among the questions of law and fact       the Class. Among the questions of law and fact common to
                                                                                                               the Class are:¶
common to the Class are:                                                                                       whether Defendants violated the federal securities laws;¶
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         (a)     whether Defendants violated the federal securities laws;                                      numbered + Level: 1 + Numbering Style: 1, 2, 3, … +
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         (b)     whether statements made by Defendants to the investing public in the Offering                 Indent at: 0", Tab stops: 1.01", Left + Not at 1"

         Documents for the IPO, or during the Class Period, misrepresented material facts about

         Caribou’s preclinical and clinical studies and prospects;

         (c)     whether the Securities Act Individual Defendants negligently prepared the

         Offering Documents for the IPO and, as a result, the Offering Documents contained


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         untrue statements of material fact or omitted to state other facts necessary to make the statements

         made not misleading, and were not prepared in accordance with the rules and regulations governing

         their preparation;

         (d)     whether the Exchange Act Individual Defendants caused Caribou to issue false and                  Moved (insertion) [15]: whether certain Defendants
                                                                                                                   acted knowingly or recklessly in issuing false and
                                                                                                                   misleading financial statements;¶
         misleading financial statements during the Class Period;                                                  whether the prices of Caribou securities during the Class
                                                                                                                   Period were artificially inflated because of the
         (e)     whether certain Defendants acted knowingly or recklessly in issuing false and misleading          Defendants’ conduct complained of herein; and;¶
                                                                                                                   whether the members of the Class have sustained damages
         financial statements;                                                                                     and, if so, what is the proper measure of damages.¶
                                                                                                               A class action is superior to all other available methods for
                                                                                                               the fair and efficient adjudication of this controversy since
         (f)     whether the prices of Caribou securities during the Class Period were artificially inflated   joinder of all members is impracticable. Furthermore, as the
                                                                                                               damages suffered by individual Class members may be
         because of the Defendants’ conduct complained of herein; and;                                         relatively small, the expense and burden of individual
                                                                                                               litigation make it impossible for
         (g)     whether the members of the Class have sustained damages and, if so, what is the proper        Formatted: Indent: Left: 0.53", First line: 0", Line
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         measure of damages.                                                                                   Numbering Style: a, b, c, … + Start at: 1 + Alignment:
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         246.    A class action is superior to all other available methods for the fair and efficient          Left + Not at 1.01"
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adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the damages
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suffered by individual Class members may be relatively small, the expense and burden of individual             Deleted: Plaintiff

litigation make it impossible for Class members to individually redress the wrongs done to them. There will    Deleted: himself
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be no difficulty in managing this action as a class action.                                                    OLE_NUMBER
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XII.    PRAYER FOR RELIEF                                                                                      MSG_EN_FONT_STYLE_MODIFER_SIZE
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         WHEREFORE, Plaintiffs, on behalf of themselves and the Class, prays for judgment and relief           Formatted: Line spacing: Exactly 24 pt

as follows:                                                                                                      Deleted: determining
                                                                                                                 Deleted: of the Federal Rules of Civil Procedure
         (a)     Determining that the instant action may be maintained as a class action under Rule 23, and
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         certifying Plaintiffs as the Class Representative;                                                      Deleted: Plaintiff
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         (b)     Requiring Defendants to pay damages sustained by Plaintiffs and the Class by reason of
                                                                                                               Deleted: 26¶
         the acts and transactions alleged herein;                                                             Deleted: Plaintiff
                                                                                                               Deleted: of the Class
         (c)     Awarding Plaintiffs and the other Class members prejudgment and post-judgment interest,
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         as well as their reasonable attorneys’ fees, expert fees and other court costs; and                     Deleted: awarding Plaintiff
                                                                                                                 Deleted: of the Class
         (d)     Awarding Plaintiffs and other Class members such other and further relief as the
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       Court may deem just and proper.                                                      Formatted: Left, Indent: Left: 0.53", Space After: 11.1
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XIII. JURY TRIAL DEMANDED                                                                   numbering, Tab stops: Not at 1.01"
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       Plaintiffs hereby demand a trial by jury.
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Dated: September 18, 2023                          Respectfully submitted,                    Deleted: demands

                                                   THE SCHALL LAW FIRM                      Moved down [21]
                                                                                                            Deleted: /s/
                                                   /s Ivy T. Ngo _____________________      Moved down [22]
                                                                                                            Deleted: Rosen Laurence M. Rosen
                                                   Ivy T. Ngo (249860)                                      (SBN 219683) 355 South Grand Avenue,
                                                   Brian Schall (290685)                                    Suite 2450 Los Angeles, CA 90071
                                                   2049 Century Park East, Suite 2460 Los                   Telephone: (213) 785-2610 Facsimile:
                                                                                                            (213) 226-4684 Email:
                                                   Angeles, CA 90067 Telephone: (310)                       lrosen@rosenlegal.com¶
                                                   301-3335 ivy@schallfirm.com
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                                                   THE ROSEN LAW FIRM, P.A.                 Formatted: MSG_EN_FONT_STYLE_NAME_TEMPLATE_R
                                                   Laurence M. Rosen (219683)               OLE_NUMBER
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                                                   (213) 785-2610 lrosen@rosenlegal.com
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                                                   Sara Fuks (admitted pro hac vice) 275    Deleted: Rina Restaino (285415)¶
                                                   Madison Avenue, 40th Floor New York,     Deleted: brian@schallfirm.com
                                                   NY 10016 Telephone: (212) 686-1060       Deleted: rina
                                                   sfuks@rosenlegal. com                    Field Code Changed

                                                   Counsel for Plaintiffs and Co-Lead                       Moved (insertion) [21]: THE ROSEN
                                                                                                            LAW FIRM, P.A.¶
                                                   Counsel for the Class
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Page 1: [17] Formatted    Author
Default Paragraph Font
Page 1: [18] Formatted    Author
Right: 0", Space After: 25.8 pt
Page 1: [19] Formatted    Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2
Page 1: [20] Formatted    Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_LEVEL
MSG_EN_FONT_STYLE_NAME_BY_ROLE_HEADING 1, Centered, Right: 0.22", Line
spacing: Exactly 13.9 pt
Page 1: [21] Formatted    Author
Right: 0.77", Top: 1.15", Bottom: 3.5", Section start: Continuous
Page 1: [22] Formatted    Author
Top: 1.15", Bottom: 1.15"
Page 1: [23] Formatted    Author
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Page 1: [24] Formatted    Author
         Case 3:23-cv-01742-RFL Document 37 Filed 09/20/23 Page 73 of 84




Right: 0.77", Top: 1.15", Bottom: 1.15", Force equal column width
Page 1: [25] Formatted   Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_LEVEL
MSG_EN_FONT_STYLE_NAME_BY_ROLE_HEADING 1
Page 1: [26] Formatted   Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_LEVEL
MSG_EN_FONT_STYLE_NAME_BY_ROLE_HEADING 1, Space After: 13.7 pt
Page 1: [27] Formatted   Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_LEVEL
MSG_EN_FONT_STYLE_NAME_BY_ROLE_HEADING 1
Page 15: [28] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 1: [29] Formatted   Author
Header
Page 1: [30] Formatted   Author
Font: 12 pt
Page 26: [31] Formatted Author
Normal
Page 26: [32] Formatted Author
Font: 1 pt
Page 33: [33] Formatted Author
Justified, Indent: First line: 0.53", Space After: 0 pt, Line spacing: Exactly 24 pt, Outline
numbered + Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 98 + Alignment: Left + Aligned
at: 0" + Indent at: 0", Tab stops: 1.01", Left
Page 33: [34] Formatted Author
Space After: 7.8 pt
Page 33: [35] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3, Right: 0.53", Space After: 5.75 pt,
Line spacing: Exactly 13.7 pt
Page 33: [36] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 33: [37] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
         Case 3:23-cv-01742-RFL Document 37 Filed 09/20/23 Page 74 of 84




Page 33: [38] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 33: [39] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 33: [40] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 33: [41] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 33: [42] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 33: [43] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 33: [44] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 33: [45] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 33: [46] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 33: [47] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 33: [48] Formatted Author
Default Paragraph Font
Page 33: [49] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
11,MSG_EN_FONT_STYLE_MODIFER_NOT_ITALIC
Page 33: [50] Deleted   Author

Page 33: [51] Formatted Author
         Case 3:23-cv-01742-RFL Document 37 Filed 09/20/23 Page 75 of 84




Line spacing: Exactly 24 pt, Outline numbered + Level: 1 + Numbering Style: 1, 2, 3, … + Start
at: 98 + Alignment: Left + Aligned at: 0" + Indent at: 0", Tab stops: 1.01", Left + Not at 1"
Page 33: [52] Deleted   Author




        98.
Page 33: [53] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 33: [54] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 33: [55] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 33: [56] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 33: [57] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 34: [58] Formatted Author
Indent: First line: 0.56", Line spacing: Exactly 24 pt, Outline numbered + Level: 1 +
Numbering Style: 1, 2, 3, … + Start at: 98 + Alignment: Left + Aligned at: 0" + Indent at: 0",
Tab stops: 1.02", Left + Not at 1"
Page 34: [59] Deleted   Author




         99.
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         100.
Page 34: [61] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 34: [62] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 34: [63] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 34: [64] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 34: [65] Deleted   Author




         101.
Page 34: [66] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 34: [67] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 34: [68] Deleted   Author




         102.
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         Case 3:23-cv-01742-RFL Document 37 Filed 09/20/23 Page 77 of 84




         103.
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         104.
Page 34: [71] Deleted   Author




         105.
Page 34: [72] Deleted   Author




         106.
Page 35: [73] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 35: [74] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 35: [75] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 35: [76] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 35: [77] Deleted   Author




         107.
Page 35: [78] Deleted   Author
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         108.
Page 35: [79] Deleted   Author




Page 35: [80] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3
Page 35: [81] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 3 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
11,MSG_EN_FONT_STYLE_MODIFER_NOT_ITALIC
Page 35: [82] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 35: [83] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 37: [84] Deleted   Author




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Page 37: [85] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 37: [86] Formatted Author
Line spacing: Exactly 24 pt, Outline numbered + Level: 1 + Numbering Style: 1, 2, 3, … + Start
at: 98 + Alignment: Left + Aligned at: 0" + Indent at: 0", Tab stops: 1", Left + Not at 1"
Page 37: [87] Deleted   Author
         Case 3:23-cv-01742-RFL Document 37 Filed 09/20/23 Page 79 of 84




        109.
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        110.
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        111.
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        112.
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        113.
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        114.
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        115.
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        116.
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        117.
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        118.
Page 37: [88] Formatted Author
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MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 37: [89] Deleted   Author




        119.
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        120.
Page 37: [90] Deleted   Author




        121.
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        122.
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        123.
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        124.
Page 37: [90] Deleted   Author




        125.
Page 37: [90] Deleted   Author




        126.
Page 37: [91] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
         Case 3:23-cv-01742-RFL Document 37 Filed 09/20/23 Page 81 of 84




Page 37: [92] Deleted      Author




        127.
Page 37: [92] Deleted      Author




        128.
Page 37: [93] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 37: [93] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 37: [94] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 37: [95] Formatted Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 37: [96] Deleted      Author

Page 37: [97] Formatted Author
Indent: First line: 0.54", Line spacing: Exactly 24 pt, Outline numbered + Level: 1 +
Numbering Style: 1, 2, 3, … + Start at: 98 + Alignment: Left + Aligned at: 0" + Indent at: 0",
Tab stops: 1", Left + Not at 1"
Page 37: [98] Deleted      Author




         129.
Page 37: [99] Deleted      Author

Page 37: [100] Formatted            Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
         Case 3:23-cv-01742-RFL Document 37 Filed 09/20/23 Page 82 of 84




MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 38: [101] Formatted            Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 38: [102] Formatted            Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 38: [103] Formatted            Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2 +
MSG_EN_FONT_STYLE_MODIFER_SIZE
12,MSG_EN_FONT_STYLE_MODIFER_ITALIC
Page 38: [104] Deleted     Author




        130.
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        131.
Page 38: [106] Deleted     Author




        132.
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Page 42: [108] Deleted     Author

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        128.
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        129.
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        130.
Page 44: [112] Formatted            Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_LEVEL
MSG_EN_FONT_STYLE_NAME_BY_ROLE_HEADING 1
Page 44: [113] Deleted     Author


VI.
Page 44: [114] Deleted     Author


VII.
Page 45: [115] Deleted     Author




Page 45: [116] Deleted     Author

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        131.
Page 45: [118] Formatted            Author
Indent: First line: 0.54", Line spacing: Exactly 24 pt, Outline numbered + Level: 1 +
Numbering Style: 1, 2, 3, … + Start at: 128 + Alignment: Left + Aligned at: 0" + Indent at: 0",
Tab stops: 1", Left + Not at 1.01"
Page 45: [119] Deleted     Author




        132.
Page 45: [120] Deleted     Author




        133.
Page 45: [121] Deleted     Author




        134.
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        135.
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        136.
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        137.
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        138.
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        139.
Page 67: [127] Formatted            Author
Indent: Left: 0.53", First line: 0", Line spacing: Exactly 24 pt, Outline numbered + Level: 1 +
Numbering Style: a, b, c, … + Start at: 1 + Alignment: Left + Aligned at: 0" + Indent at: 0",
Tab stops: 1.02", Left + Not at 1.01"
Page 68: [128] Formatted            Author
MSG_EN_FONT_STYLE_NAME_TEMPLATE_ROLE_NUMBER
MSG_EN_FONT_STYLE_NAME_BY_ROLE_TEXT 2, Centered, Line spacing: Exactly 12.2
pt, Don't keep with next, Don't keep lines together
